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                             Exhibit 2

                        DIP Credit Agreement
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                                PRIMING SUPERPRIORITY

                      DEBTOR-IN-POSSESSION CREDIT AGREEMENT


                                    BY AND BETWEEN

                   BUCKINGHAM SENIOR LIVING COMMUNITY, INC.,

                                      AS DEBTOR,

                                          AND

                                    UMB BANK, N.A.,

                            IN ITS CAPACITY AS BOND TRUSTEE,

                                     AS DIP LENDER



                                DATED AS OF JUNE 25, 2021




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SCHEDULE 2.1       DIP Loan Commitment

EXHIBIT A          Budget

EXHIBIT B          Form of Borrowing Certificate




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      THIS PRIMING SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT
AGREEMENT is made as of June 25, 2021 by and between Buckingham Senior Living
Community, Inc. (the “Debtor”) and UMB Bank, N.A., in its capacity as Bond Trustee (the “DIP
Lender”).

                                            RECITALS

         WHEREAS, on June 25, 2021 (the “Petition Date”), the Debtor filed a voluntary petition
for relief (the “Chapter 11 Case”) under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”);

     WHEREAS, the Debtor is the owner and operator of a continuing care retirement
community known as The Buckingham (the “Facility”);

        WHEREAS, the Tarrant County Cultural Education Facilities Finance Corporation (the
“Bond Issuer”) issued its (i) Tarrant County Cultural Education Facilities Finance Corporation
Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Project),
Series 2007 (the “Series 2007 Bonds”), pursuant to that certain Indenture of Trust dated as of
July 1, 2007 (the “2007 Original Indenture”) between the Bond Issuer and UMB Bank, N.A., in
its capacity as successor trustee thereunder (in such capacity, the “Bond Trustee”), (ii) Tarrant
County Cultural Education Facilities Finance Corporation Retirement Facility Revenue Bonds
(Buckingham Senior Living Community, Inc. Project), Series 2014 (the “Series 2014 Bonds”),
pursuant to the 2007 Indenture, as supplemented by Supplement No. 1 to the Indenture of Trust,
dated as of September 1, 2014 (the 2007 Original Indenture, as supplemented, the “2014
Indenture”) between the Bond Issuer and the Bond Trustee and (iii) the Tarrant County Cultural
Education Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham
Senior Living Community, Inc. Project), Series 2015A Fixed Rate, Series 2015B-1 Tax Exempt
Mandatory Paydown Securities (TEMP- 80) and Series 2015B-2 Tax Exempt Mandatory
Paydown Securities (TEMP- 50) (the “Series 2015 Bonds” and together with the Series 2007
Bonds and Series 2014 Bonds, the “Bonds”), pursuant to that certain Indenture of Trust, dated as
of August 1, 2015 between the Bond Issuer and the Bond Trustee (the “2015 Indenture” and
together with the 2007 Original Indenture and the 2014 Indenture, the “Bond Indentures”);

       WHEREAS, the Bond Issuer loaned the proceeds of the Bonds to the Debtor pursuant to
the Loan Agreement dated July 1, 2007 between the Debtor and the Bond Issuer (as amended by
the Amendment No. 1 to the Loan Agreement dated September 1, 2014) and the Loan
Agreement dated August 1, 2015, collectively, the “Loan Agreements”);

       WHEREAS, the Debtor used the proceeds of the Bonds primarily to: (i) finance the
construction, renovation and equipping of the Facility, (ii) fund debt service reserve funds; (iii)
pay a portion of the interest on the Bonds; and (iv) pay certain expenses incurred in connection
with the issuance of the Bonds;

       WHEREAS, the rights of the Bond Issuer under the Loan Agreements were assigned to
the Bond Trustee. In addition, as security for its obligations with respect to the Bonds, the Debtor
entered into that certain Master Trust Indenture, Deed of Trust and Security Agreement dated as
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July 1, 2007, as supplemented by the Supplemental Indenture Number 1, dated as of July 1,
2007, the Supplemental Indenture Number 2, dated as of September 1, 2014 and the
Supplemental Indenture Number 3, dated as of August 1, 2015 (as supplemented, the “Master
Indenture”) between the Debtor and UMB Bank, N.A., as successor master trustee (the “Master
Trustee” and together with the Bond Trustee, the “Trustee”) pursuant to which the Debtor
granted the Master Trustee a security interest against substantially all of the Debtor’s assets as
described in the Master Indenture and that certain Deed of Trust and Security Agreement dated
October 8, 2014, as modified by the Modification Agreement dated effective August 1, 2015 (as
modified, the “Deed of Trust”), between the Debtor and the Master Trustee (all such collateral so
granted under the Prepetition Credit Agreements (as defined below), the “Prepetition
Collateral”);

        WHEREAS, the Bond Indentures, the Loan Agreements, the Master Indenture, the Deed
of Trust and any other document or agreement delivered as security for, or in respect to, the
Bonds or the Debtor’s obligations under any of such documents are collectively referred to
herein as the “Prepetition Credit Agreements.”

       WHEREAS, the Debtor has requested, and the DIP Lender has agreed, to provide a
working capital facility to support the Debtor’s working capital needs during the Chapter 11
Case, pursuant to the terms and conditions hereof; and

       WHEREAS, the DIP Lender is only willing to provide the DIP Loans hereunder if the
Debtor grants to the DIP Lender a priming, first priority lien and superpriority administrative
claim on the DIP Collateral, subject only to the Carve-Out and other Permitted Liens and the
Financing Orders.

        NOW THEREFORE, in consideration of the premises and the mutual covenants and the
agreements herein set forth, and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto, intending to be legally bound,
hereby agree as follows:

                                         ARTICLE I
                                       DEFINED TERMS

       Section 1.1    Definitions.

                (a)     As used in this Agreement, including, without limitation, the preamble,
recitals, exhibits and schedules hereto, the following terms have the meanings stated:

       “Account” has the meaning set forth in the UCC.

       “Action” against a Person means an action, suit, litigation, arbitration, investigation,
       complaint, contest, hearing, inquiry, inquest, audit, examination or other proceeding
       threatened or pending against or affecting such Person or its property, whether civil,
       criminal, administrative, investigative or appellate, in law or equity, before any arbitrator
       or Governmental Body.




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  “Affiliate” means, with respect to a Person, any other Person which directly or indirectly,
  through one or more intermediaries, controls or is controlled by or is under common
  control with such Person, and without limiting the generality of the foregoing, includes
  (i) any Person which beneficially owns or holds ten (10%) percent or more of any class of
  the Capital Stock of such Person or other equity interests in such Person, (ii) any Person
  of which such Person beneficially owns or holds ten (10%) percent or more of any class
  of the Capital Stock or in which such Person beneficially owns or holds ten (10%)
  percent or more of the equity interests, (iii) any director or executive officer of such
  Person. For the purposes of this definition, the term “control” (including with correlative
  meanings, the terms “controlled by” and “under common control with”), as used with
  respect to any Person, means the possession, directly or indirectly, of the power to direct
  or cause the direction of the management and policies of such Person, whether through
  the ownership of Capital Stock, by agreement or otherwise.

  “Agreement” means this Priming Superpriority Debtor-in-Possession Credit Agreement,
  as it may be amended, restated, supplemented or otherwise modified from time to time.

  “Asset Sale” means a sale, lease or sublease (as lessor or sublessor), sale and leaseback,
  assignment, conveyance, transfer or other disposition to, or any exchange of property
  with, any Person, in one or more transactions or a series of related transactions, of all or
  any part of the businesses of the Debtor, and/or of all or any part of the assets or
  properties of any kind of the Debtor, whether real, personal, or mixed and whether
  tangible or intangible, whether now owned or hereafter acquired, other than (a) inventory
  (or other assets) sold or leased in the ordinary course of business, (b) sales or dispositions
  of obsolete, worn-out or excess furniture, fixtures, equipment or other property in the
  ordinary course of business and (c) the actual or constructive loss of any property or the
  use thereof.

  “Assignee” means has the meaning set forth in Section 9.4(b).

  “Assignment” has the meaning set forth in Section 9.4(b).

  “Authorized Officer” means, as applied to any Person, any individual holding the
  position of chairman of the board, executive director (or the equivalent thereof), chief
  executive officer, chief financial officer, any vice president or treasurer or the Person or
  entity acting in that capacity.

  “Bankruptcy Code” has the meaning set forth in the recitals to this Agreement.

  “Bankruptcy Court” has the meaning set forth in the recitals to this Agreement.

  “Bankruptcy Milestones” has the meaning set forth in the Financing Orders.

  “Bond Indentures” has the meaning set forth in the recitals to this Agreement.

  “Bond Issuer” has the meaning set forth in the recitals to this Agreement.

  “Bond Trustee” has the meaning set forth in the recitals to this Agreement.


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  “Bonds” has the meaning set forth in the recitals to this Agreement.

  “Borrowing” means an advance of a DIP Loan made hereunder on the Interim Order
  Entry Date or thereafter.

  “Borrowing Certificate” has the meaning set forth in Section 2.2(b).

  “Borrowing Date” means the date of a Borrowing.

  “Budget” means the budget attached as Exhibit A itemizing on a weekly basis all uses,
  and anticipated uses, of the DIP Loans, revenues projected to be received and all
  expenditures proposed to be made during such period, which Budget may be amended
  with the written consent of the DIP Lender.

  “Business Day” means a day other than Saturday or Sunday or other day on which
  commercial banks in Houston, Texas or New York City, New York are authorized or
  required by law or other governmental action to close.

  “CapEx DIP Loan Commitment” means a subset of the DIP Loan Commitment in the
  amount set forth in Schedule 2.1 or such lesser amount as determined in accordance with
  the Financing Orders and the Budget.

  “CapEx DIP Loans” mean DIP Loans, in an amount not to exceed the CapEx DIP Loan
  Commitment, to be used to pay capital expenses and storm damage claims as provided
  herein.

  “Capital Improvement Account” means a deposit account held by the Debtor into which
  the proceeds of the CapEx DIP Loans shall be deposited.

  “Capital Lease” means, as applied to any Person, any lease of any property (whether real,
  personal or mixed) by that Person as lessee that, in conformity with GAAP, is or should
  be accounted for as a capital lease on the balance sheet of that Person.

  “Capital Stock” means any and all shares, interests, participations or other equivalents
  (however designated) of capital stock of a corporation, any and all equivalent ownership
  interests in a Person (other than a corporation), including, without limitation, partnership
  interests and membership interests, and any and all warrants, rights or options to purchase
  or other arrangements or rights to acquire any of the foregoing.

  “Carve-Out” has the meaning set forth in the Interim Order (before the entry of the Final
  Order) and, after the entry of the Final Order, the Final Order.

  “Cash” means a credit balance in any Deposit Account, money or currency.

  “Change of Control” means any one or more of the following events: (i) the transfer (in
  one transaction or a series of transactions) of all or substantially all of the assets of the
  Debtor to any Person or group; (ii) the liquidation or dissolution of the Debtor or the
  adoption of a plan by the Board of Directors of the Debtor relating to the dissolution or


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  liquidation of the Debtor; (iii) the conversion of the Debtor from a Texas non-profit
  corporation to a “for profit” corporation or other entity; (iv) any Person or two or more
  Persons acting in concert shall have acquired by contract or otherwise, the power to
  exercise, directly or indirectly, a controlling influence over the management or policies of
  the Debtor or control the election of members of the board of directors or equivalent
  governing body of the Debtor; or (v) any change in the composition or membership of the
  Debtor’s board of directors, or day to day management of the Debtor, from that in effect
  on the date hereof, except for any changes approved in advance by the DIP Lender.

  “Chapter 11 Case” has the meaning set forth in the recitals to this Agreement.

  “Closing Date” means the date hereof.

  “Committee” means any committee of unsecured creditors appointed in the Chapter 11
  Case.

  “Controlled Account” has the meaning set forth in Section 5.1(f).

  “Controlled Account Agreement” has the meaning set forth in Section 5.1(f).

  “Consents” means any approval, consent, authorization or order of, notice to or
  registration or filing with, or any other action by, any Governmental Body or other
  Person.

  “Credit Bid” means the submission by the DIP Lender of a bid at a public or private sale
  to purchase all or any portion of the DIP Collateral in which any of the DIP Obligations
  are used and applied as a credit against the purchase price.

  “Debtor” has the meaning set forth in the Preamble to this Agreement; provided that
  “Debtor” shall include any of the Debtor’s successors and assigns (including, without
  limitation, any trustee or other fiduciary hereafter appointed as its legal representative or
  with respect to the property of the estate of the Debtor, whether under chapter 11 of the
  Bankruptcy Code or any subsequent chapter 7 case and the Debtor’s successor upon
  conclusion of the Chapter 11 Case).

  “Debtor Relief Laws” shall mean the Bankruptcy Code and all other liquidation,
  conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
  rearrangement, receivership, insolvency, reorganization, examinership, or similar debtor
  relief laws of the United States or other applicable jurisdictions from time to time in
  effect and affecting the rights of creditors generally.

  “Default” means a condition or event that, after notice or lapse of time or both, would
  constitute an Event of Default.

  “Deposit Account” means any deposit account (as such term is defined in the UCC),
  including, without limitation, a demand, time, savings, passbook or like account with a
  bank, savings and loan association, credit union or like organization, other than an
  account evidenced by a negotiable certificate of deposit.


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 “DIP Collateral” means any and all “Property” as defined in the Mortgage and/or the
 Financing Orders, together with any other collateral granted by the Debtor to the DIP
 Lender pursuant to any other DIP Collateral Document, as applicable.

 “DIP Collateral Documents” means the Mortgage, the Controlled Account Agreements
 and all other instruments, documents and agreements delivered by the Debtor pursuant to
 this Agreement or any of the other DIP Loan Documents pursuant to which the Debtor
 grants a DIP Lien, or any other Lien, mortgage, or encumbrance, to the DIP Lender, as
 any of the foregoing may be amended, restated, supplemented, modified, or replaced
 from time to time. For the avoidance of doubt, the DIP Collateral Documents do not
 include the Financing Orders.

 “DIP Commitment Period” means (a) with respect to Initial DIP Loans, the period
 commencing on Interim Order Entry Date and ending on the Maturity Date and (b) with
 respect to remaining DIP Loans (exclusive of the Initial DIP Loans), the period
 commencing on the Final Order Entry Date and ending on the Maturity Date.

 “DIP Lender” has the meaning set forth in the Preamble to this Agreement.

 “DIP Lien” means any Lien granted under or pursuant to any DIP Collateral Document or
 the Financing Orders.

 “DIP Loan” has the meaning set forth in Section 2.1(a).

 “DIP Loan Commitment” means the amount set forth in Schedule 2.1 or such lesser
 amount as determined in accordance with the Financing Orders and the Budget.

 “DIP Loan Document” means any of this Agreement, the DIP Collateral Documents and
 all other documents, instruments or agreements executed and delivered by the Debtor for
 the benefit of the DIP Lender in connection herewith.

 “DIP Obligations” means all indebtedness, obligations, covenants, duties of payment or
 performance of every kind and all other liabilities of the Debtor from time to time owed
 to DIP Lender, whether direct or indirect, joint or several, absolute or contingent,
 matured or unmatured, liquidated or unliquidated, secured or unsecured, arising by
 contract, operation of law or otherwise, owing, arising, due or incurred under this
 Agreement, the Financing Orders or any DIP Loan Document or in respect of any of the
 DIP Loans, or any other instruments at any time evidencing any of the foregoing or
 otherwise, including, without limitation, all obligations to repay principal of and interest
 on the DIP Loans, and to pay interest, costs, charges, expenses, professional fees, and all
 sums chargeable to the Debtor under the DIP Loan Documents and the Financing Orders
 and Debtor’s obligation to provide the DIP Lender with adequate protection of its
 interests in the DIP Collateral and other property to be used, sold, leased or otherwise
 disposed of by the Debtor under the terms of the Financing Orders.

 “Dollars” and the sign “$” mean the lawful money of the United States of America.




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 “Employee Benefit Plan” means any “employee benefit plan” as defined in Section 3(3)
 of ERISA that is sponsored, maintained or contributed to by, or required to be contributed
 to by, the Debtor.

 “Environmental Laws” means all federal, state, local and foreign laws (including without
 limitation common law), treaties, statutes, regulations and rules whether now or
 hereinafter in effect relating in any way to the environment, the preservation or
 reclamation of natural resources, the management, release or threatened release of any
 Hazardous Material or health and safety matters, including, without limitation, the
 Resource Conservation and Recovery Act, the Comprehensive Environmental Response
 Compensation and Liability Act of 1980, the Superfund Amendments and
 Reauthorization Act of 1986, the Federal Clean Water Act, the Federal Clean Air Act, the
 Toxic Substances Control Act, in each case as amended, and all rules, regulations,
 judgments, decrees, orders and licenses arising under all such laws.

 “Environmental Liability” means any actual, alleged or contingent liability or obligations
 of the Debtor directly or indirectly resulting from or based on (i) violations or alleged
 violations of any Environmental Law, (ii) the generation, use, handling, transportation,
 management, storage, treatment or disposal of any Hazardous Material, (iii) exposure to
 any Hazardous Material, (iv) the release or threatened release of any Hazardous Material
 into the environment or (v) any contract, agreement or other consensual arrangement
 pursuant to which liability is assumed or imposed with any of the foregoing.

 “Environmental Permits” means all permits, licenses, authorizations, registrations and
 other governmental consents required by applicable Environmental Laws for the use,
 storage, treatment, transportation, release, emission and disposal of raw materials, by-
 products, wastes and other substances used or produced by or otherwise relating to the
 operations of the Debtor.

 “Equipment” means, as to the Debtor, all of the Debtor’s now owned and hereafter
 acquired equipment, wherever located, including machinery, data processing and
 computer equipment (whether owned or licensed and including embedded software),
 vehicles, tools, furniture, fixtures, all attachments, accessions and property now or
 hereafter affixed thereto or used in connection therewith, and substitutions and
 replacements thereof, wherever located.

 “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
 from time to time, and any successor thereto.

 “ERISA Affiliate” means, as applied to any Person, (i) any corporation that is a member
 of a controlled group of corporations within the meaning of Section 414(b) of the Internal
 Revenue Code of which that Person is a member, (ii) any trade or business (whether or
 not incorporated) that is a member of a group of trades or businesses under common
 control within the meaning of Section 414(c) of the Internal Revenue Code of which that
 Person is a member, and (iii) any member of an affiliated service group within the
 meaning of Section 414(m) or (o) of the Internal Revenue Code of which that Person, any
 corporation described in clause (i) above or any trade or business described in clause (ii)


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 above is a member. Any former ERISA Affiliate of the Debtor, shall continue to be
 considered an ERISA Affiliate of the Debtor within the meaning of this definition with
 respect to the period such entity was an ERISA Affiliate of the Debtor and with respect to
 liabilities arising after such period for which the Debtor could be liable under the Internal
 Revenue Code or ERISA.

 “Event of Default” means each of the conditions or events set forth in Section 8.1.

 “Excluded Property” means the Avoidance Actions (as defined in the Financing Orders).

 “Excluded Taxes” means any of the following Taxes imposed on or with respect to the DIP
 Lender or required to be withheld or deducted from a payment to the DIP Lender, (a) Taxes
 imposed on or measured by net income (however denominated), franchise Taxes, and
 branch profits Taxes, in each case, (i) imposed as a result of the DIP Lender being
 organized under the laws of, or having its principal office or, its applicable lending office
 located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii)
 that are imposed as a result of a present or former connection between the DIP Lender and
 the jurisdiction imposing such Tax (other than connections arising from the DIP Lender
 having executed, delivered, become a party to, performed its obligations under, received
 payments under, received or perfected a security interest under, engaged in any other
 transaction pursuant to or enforced this Agreement, or sold or assigned an interest in any
 DIP Loan or any DIP Loan Document), (b) U.S. federal withholding Taxes imposed on
 amounts payable to or for the account of the DIP Lender with respect to an applicable
 interest in a DIP Loan pursuant to a law in effect on the date on which the DIP Lender
 acquires such interest in the DIP Loan, (c) Taxes attributable to the DIP Lender’s failure
 to comply with Section 7.1(c) and (d) any U.S. federal withholding Taxes imposed under
 FATCA.

 “Facility” has the meaning set forth in the recitals to this Agreement.

 “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of the
 date of this Agreement (or any amended or successor version that is substantively
 comparable and not materially more onerous to comply with), any current or future
 regulations or official interpretations thereof and any agreement entered into pursuant to
 Section 1471(b)(1) of the Internal Revenue Code.

  “Final Order” means a final order (which must be acceptable in form and substance to
 the DIP Lender in its sole discretion) entered or to be entered by the Bankruptcy Court
 authorizing the secured financing under the DIP Loan Documents.

 “Final Order Entry Date” means the date on which the Bankruptcy Court enters the Final
 Order.

 “Financing Orders” means, collectively, the Interim Order, the Final Order and such
 other orders relating thereto or authorizing the granting of credit by DIP Lender to the
 Debtor on an emergency, interim or permanent basis, pursuant to section 364 of the
 Bankruptcy Code as may be issued or entered by the Bankruptcy Court in the Chapter 11
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 “GAAP” means generally accepted accounting principles in the United States as in effect
 from time to time, consistently applied throughout the periods to which reference is
 made.

 “Governmental Body” means any agency, bureau, commission, court, department,
 official, political subdivision, tribunal or other instrumentality of any administrative,
 judicial, legislative, executive, regulatory, police or taxing authority of any government,
 whether supranational, national, federal, state, regional, provincial, local, domestic or
 foreign, and includes, without limitation, the European Union and its agencies and
 instrumentalities.

 “Hazardous Materials” means any hazardous or toxic substance, waste, contaminant,
 pollutant, gas or material, including, without limitation, radioactive materials, oil,
 petroleum and petroleum products and constituents thereof, which are regulated under
 any Environmental Law, including, without limitation, any substance, waste or material
 which is (i) designated a “pollutant”, “hazardous substance”, “extremely hazardous
 substance” or “toxic chemical” under any Environmental Law, or (ii) regulated in any
 way under the Regulations of any state or other jurisdiction where the Debtor conducts its
 business or owns any real property or has any leasehold or in which any Relevant
 Property is located.

 “Indebtedness” means, with respect to any Person, without duplication, the following: (i)
 all indebtedness of such Person for borrowed money, (ii) all obligations of such Person
 for the deferred purchase price of property or services (other than accounts payable and
 accrued liabilities that would be classified as current liabilities under GAAP if and only
 for so long as such item of such accounts payable and accrued liabilities is no more than
 90 days past due), (iii) all obligations of such Person evidenced by notes, bonds,
 debentures or similar borrowing or securities instruments, (iv) all obligations of such
 Person created or arising under any conditional sale or other title retention agreement
 with respect to property acquired by such Person, (v) all obligations of such Person as
 lessee under Capital Leases, (vi) all obligations of such Person in respect of banker’s
 acceptances and letters of credit, (vii) all obligations of such Person secured by Liens on
 the assets and property of such Person, (viii) all obligations of such Person to purchase,
 redeem, retire, defease or otherwise make any payment in respect of any Capital Stock or
 other ownership or profit interest in such Person or any other Person or any warrants,
 rights or options to acquire such Capital Stock, (ix) net liabilities in respect of such
 Person’s hedge agreements as determined in accordance with GAAP, (x) all obligations
 of such Person in respect of any guaranty by such Person of any obligation of another
 Person of the type described in clauses (i) through (ix) of this definition and (xi) all
 obligations of another Person of the type described in clauses (i) through (x) secured by a
 Lien on the property or assets of such Person (whether or not such Person is otherwise
 liable for such obligations of such other Person).

 “Indemnified Taxes” means Taxes, other than Excluded Taxes, imposed on or with
 respect to any payment made by or on account of any obligation of the Debtor under any
 DIP Loan Document.



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  “Initial DIP Loans” means the amount set forth on Schedule 2.1 or such lesser amount as
 set forth in the Interim Order and the Budget.

 “Intellectual Property” means, collectively, all copyrights, all patents and all trademarks,
 together with: (i) all inventions, processes, production methods, proprietary information,
 know-how and trade secrets; (ii) all licenses or user or other agreements granted to the
 Debtor with respect to any of the foregoing, in each case whether now or hereafter owned
 or used including the licenses or other agreements with respect to any DIP Collateral; (iii)
 all customer lists, identification of suppliers, data, plans, blueprints, specifications,
 designs, drawings, recorded knowledge, surveys, engineering reports, test reports,
 manuals, materials standards, processing standards, performance standards, catalogs,
 computer and automatic machinery software and programs; (iv) all sales data and other
 information relating to sales or service of products now or hereafter manufactured; (v) all
 accounting information and all media in which or on which any information or
 knowledge or data or records may be recorded or stored and all computer programs used
 for the compilation or printout of such information, knowledge, records or data; and (vi)
 all causes of action, claims and warranties, in each case, now or hereafter owned or
 acquired by the Debtor in respect of any of the items listed above.

 “Interim Order” means an interim order (which must be acceptable in form and substance
 to the DIP Lender in its sole discretion) entered or to be entered by the Bankruptcy Court
 authorizing the secured financing (including the Initial DIP Loans) under the DIP Loan
 Documents.

 “Interim Order Entry Date” means the date on which the Bankruptcy Court issues the
 Interim Order.

 “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended to the
 date hereof and from time to time hereafter, and any successor statute.

 “Investment” means (i) any direct or indirect purchase or other acquisition by the Debtor
 of, or of a beneficial interest in, any of any Capital Stock of any other Person, (ii) any
 direct or indirect redemption, retirement, purchase or other acquisition for value, by the
 Debtor from any Person, of any Capital Stock of such Person, and (iii) any direct or
 indirect loan, advance or capital contribution by the Debtor to any other Person, including
 all indebtedness and accounts receivable from that other Person that are not current assets
 or did not arise from sales of inventory to that other Person in the ordinary course of
 business and/or constitute ordinary trade credit extended in the ordinary course of
 business. The amount of any Investment shall be the original cost of such Investment
 plus the cost of all additional Investments, without any adjustments for increases or
 decreases in value, or write-ups, write-downs or write-offs with respect to such
 Investment.

 “Knowledge” means, with respect to the Debtor, the actual knowledge of the Debtor’s
 Authorized Officers.




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 “Leasehold Property” means any leasehold interest of the Debtor as lessee under any
 lease of real or personal property, other than any such leasehold interest designated from
 time to time by the DIP Lender in its sole discretion as not being required to be included
 in the DIP Collateral or with respect to which the applicable lease includes an enforceable
 prohibition on the grant of a security interest therein.

 “Loan Agreements” has the meaning set forth in the recitals to this Agreement.

 “Lien” means any mortgage, deed of trust, security interest, charge, pledge,
 hypothecation, assignment, attachment, deposit arrangement, encumbrance, lien
 (statutory, judgment or otherwise, but excluding any right of set off arising by operation
 of law or pursuant to agreements entered into in the ordinary course of business), or other
 security agreement or preferential arrangement of any kind or nature whatsoever
 (including any conditional sale or other title retention agreement, any Capital Lease, any
 Synthetic Lease, any financing lease involving substantially the same economic effect as
 any of the foregoing and the filing of any financing statement under the UCC or
 comparable law of any jurisdiction in respect of the foregoing).

 “Margin Stock” means “margin stock” as defined in Regulation U of the Board of
 Governors of the Federal Reserve System as in effect from time to time.

 “Material Adverse Effect” means any material adverse effect on or change in (i) the
 business or assets of the Debtor, (ii) the ability of the Debtor to perform its obligations
 hereunder or under of any of the DIP Loan Documents, (iii) the legality, validity or
 enforceability of any DIP Loan Document, or (iv) the DIP Collateral or the perfection or
 priority of any DIP Liens granted to the DIP Lender under any of the DIP Collateral
 Documents.

 “Maturity Date” means the earliest to occur of the date that is (a) November 8, 2021, (b)
 the closing date of any Restructuring, (c) the confirmation of a plan of reorganization or
 liquidation for the Debtor in the Chapter 11 Case, and (d) the date on which the DIP
 Lender accelerates the DIP Obligations (or the DIP Obligations automatically and
 immediately accelerate) or the DIP Obligations otherwise become immediately due and
 payable, in each case pursuant to the terms hereof.

 “Mortgage” means the Mortgage, dated on even date herewith, by the Debtor in favor of
 the DIP Lender.

 “Multiemployer Plan” means any Employee Benefit Plan that is a “multi-employer plan”
 as defined in Section 3(37) of ERISA.

 “Net Asset Sale Proceeds” means, for the Debtor, with respect to any Asset Sale, an
 amount equal to: (i) Cash payments (including any Cash received by way of deferred
 payment pursuant to, or by monetization of, a note receivable or otherwise, but only as
 and when so received) received by the Debtor from such Asset Sale, minus (ii) the sum of
 (a) reasonable, customary and documented brokerage, consultant and other reasonable
 customary and documented fees and expenses actually incurred in connection with such



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 Asset Sale and (b) Taxes paid or reasonably estimated to be payable as a result of such
 Asset Sale.

 “Net Indebtedness Proceeds” means the proceeds of any Indebtedness incurred by the
 Debtor after the Petition Date (other than pursuant to this Agreement) minus if, at the
 time of payment thereof and after giving thereto, (i) the Debtor is in pro forma
 compliance with the provisions of Section 6.2, (ii) any such payment is permitted to be
 made at such time in accordance with the Budget and (iii) no Default or Event of Default
 shall have occurred and be continuing or would result therefrom, reasonable, customary
 and documented out-of-pocket attorneys’ fees, accountants’ fees, and other reasonable
 customary and documented fees and expenses actually incurred in connection with the
 issuance of such Indebtedness.

 “Net Insurance/Condemnation Proceeds” means, for the Debtor, an amount equal to: (i)
 any Cash payments or proceeds received by or owed to the Debtor (A) under any casualty
 insurance policy in respect of a covered loss thereunder or (B) as a result of the taking of
 any assets of the Debtor by any Person pursuant to the power of eminent domain,
 condemnation or otherwise, or pursuant to a sale of any such assets to a purchaser with
 such power under threat of such a taking minus (ii) the sum of (A) any actual and
 reasonable documented costs and expenses (including reasonable out-of-pocket
 attorney’s fees) incurred by the Debtor in connection with the adjustment or settlement of
 any claims of the Debtor in respect thereof, and (B) any bona fide, reasonable, customary
 and documented costs actually incurred in connection with any sale of such assets as
 referred to in clause (i)(B) of this definition, including Taxes paid or reasonably
 estimated to be payable as a result of any gain recognized in connection therewith.

 “Net Proceeds” means, as of any time, the aggregate of Net Asset Sale Proceeds, Net
 Insurance/Condemnation Proceeds and Net Indebtedness Proceeds.

 “Notices” has the meaning set forth in Section 9.2.

 “Operating Account” means the Debtor’s deposit account at Bank of America, N.A.,
 currently used as its operating account, which deposit account may be changed with the
 written consent of the DIP Lender.

 “PATRIOT Act” means the Uniting and Strengthening America by Providing
 Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Public Law
 107-56).

 “PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

 “Pension Plan” means any Employee Benefit Plan, other than a Multiemployer Plan, that
 is subject to Section 412 of the Internal Revenue Code or Section 302 of ERISA.

 “Permit” means any permit, license, approval, consent, permission, notice, franchise,
 confirmation, endorsement, waiver, certification, registration, qualification, clearance or
 other authorization issued, granted, given or otherwise made available by or under the



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 authority of any Governmental Body or pursuant to any federal, state, local or foreign
 Regulation.

 “Permitted Indebtedness” means the Indebtedness permitted pursuant to Section 6.1(a).

 “Permitted Investment” has the meaning set forth in Section 6.1(c).

 “Permitted Liens” has the meaning set forth in Section 6.1(b).

 “Person” means and includes natural persons, corporations, limited partnerships, general
 partnerships, limited liability companies, limited liability partnerships, joint stock
 companies, joint ventures, associations, companies, trusts, banks, trust companies, land
 trusts, business trusts or other organizations, whether or not legal entities, other legal
 entities and Governmental Bodies.

 “Petition Date” has the meaning set forth in the recitals to this Agreement.

 “Post-Petition” means following the Petition Date.

 “Prepetition Collateral” has the meaning set forth in the recitals to this Agreement.

 “Prepetition Credit Agreements” has the meaning set forth in the recitals to this
 Agreement.

 “Prepetition Bond Indebtedness” means the Indebtedness issued or loaned and
 outstanding under a Prepetition Credit Agreement.

 “Prepetition Obligations” means all obligations of the Debtor arising prior to the Petition
 Date.

 “Prepetition Payment” means a payment (by way of adequate protection or otherwise) of
 principal or interest or otherwise on account of Prepetition Obligations or other
 prepetition claims against the Debtor.

 “Prepetition Secured Parties” means each of the Bond Trustee and any other agent,
 trustee, bondholder, noteholder, lender or other secured party under any Prepetition
 Credit Agreement.

 “Regulation” means each applicable law, rule, regulation, or order, by any Governmental
 Body, central bank or comparable agency and any request or directive (if having the force
 of law) of any of those Persons and each judgment, injunction, order, writ, decree or
 award of any Governmental Body, arbitrator or other Person.

 “Released Parties” shall have the meaning given such term in Section 9.19.

 “Relevant Property” means, for the Debtor, all sites, facilities, locations, real property
 and leaseholds (i) presently or formerly owned, leased, used or operated by the Debtor
 (whether or not such properties are currently owned, leased, used or operated by the



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 Debtor) or (ii) at which any Hazardous Material has been transported, disposed, treated,
 stored or released by the Debtor.

 “Restructuring” means a restructuring of Debtor’s financial obligations with respect to
 the Bonds and its other outstanding obligations on the terms and conditions acceptable to
 the DIP Lender.

 “Securities Act” means the Securities Act of 1933, as amended from time to time, and
 any successor statute.

 “Subsidiary” means, with respect to any Person, any corporation, partnership, limited
 liability company, association, joint venture or other business entity of which more than
 50% of the total voting power of shares of stock or other ownership interests entitled
 (without regard to the occurrence of any contingency) to vote in the election of the
 Person or Persons (whether directors, managers, trustees or other Persons performing
 similar functions) having the power to direct or cause the direction of the management
 and policies thereof is at the time owned or controlled, directly or indirectly, by that
 Person or one or more of the other Subsidiaries of that Person or a combination thereof.

 “Synthetic Lease” means any lease of goods or other property, whether real or personal,
 which is treated as an operating lease under GAAP and as a loan or financing for U.S.
 income tax purposes.

 “Tax” means any present or future tax, levy, impost, duty, assessment, charge, fee,
 deduction or withholding of any nature and whatever called, by whomsoever, on
 whomsoever and wherever imposed, levied, collected, withheld or assessed.

 “UCC” means the Uniform Commercial Code (or any similar or equivalent legislation) as
 in effect in the State of New York; provided that if by reason of mandatory provisions of
 law, the perfection, the effect of perfection or non-perfection or the priority of the DIP
 Liens is governed by the Uniform Commercial Code as in effect in a United States
 jurisdiction other than New York, “UCC” shall mean the Uniform Commercial Code as
 in effect in such other jurisdiction for purposes of the provisions hereof relating to such
 perfection, effect of perfection or non-perfection or priority.

 “United States Trustee” means the United States Trustee for the Southern District of
 Texas.

 “Weekly Budget Report” means, a weekly report certified by an Authorized Officer for
 the Debtor, substantially in the same form as the Budget indicating (i) a comparative
 reconciliation, on a line-by-line basis, of actual cash receipts and disbursements against
 the cash receipts and disbursements forecast in the Budget, and the percentage variance
 thereof, for (A) the weekly period ended on (and including) the immediately preceding
 Sunday and (B) the cumulative period to date; and (ii) a written explanation of such
 variances.

        (b)    Capitalized terms used but not defined above or elsewhere herein shall
 have the meanings given to such terms in the Financing Orders, as applicable.


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                                          ARTICLE II
                                           LOANS

       Section 2.1    DIP Loans.

               (a)    Subject to the terms and conditions set forth herein and in the Financing
Orders, upon Debtor’s request for a DIP Loan in accordance with Section 2.2(b), the DIP Lender
agrees to make term loans pursuant to this Section 2.1(a) (collectively, the “DIP Loans”) during
the DIP Commitment Period in an amount equal to such requested DIP Loan. Each such DIP
Loan shall be for purposes consistent with the Budget and otherwise consistent with this
Agreement; provided that both before and after giving effect to any DIP Loan, the aggregate
amount of all DIP Loans, including the CapEx DIP Loans, made shall not exceed the DIP Loan
Commitment. Once repaid, DIP Loans borrowed hereunder may not be reborrowed.

               (b)     Any amount borrowed under this Section 2.1 shall, along with all other
DIP Obligations (including accrued and unpaid costs, and expenses), be entitled to the DIP Liens
on the DIP Collateral and the other rights and benefits provided pursuant to the Financing
Orders, this Agreement and the other DIP Loan Documents.

       Section 2.2    Borrowing Mechanics.

                (a)    The DIP Loans, other than the CapEx DIP Loans, shall be funded by the
DIP Lender into the Debtor’s Operating Account, and anything herein to the contrary
notwithstanding, shall be disbursed solely in accordance with the Budget and the Financing
Orders (both as to timing and amount of any such requests), subject to Sections 3.1 and 3.2. The
CapEx DIP Loans shall be funded by the DIP Lender into the Debtor’s Capital Improvement
Account, and shall be disbursed solely in accordance with the Budget and Financing Orders
(both as to timing and amount of any such requests), subject to Sections 3.1 and 3.2.

                 (b)     Not less than two Business Days prior to any Borrowing Date, the Debtor
shall deliver to the DIP Lender a fully executed Borrowing Certificate no later than 10:00 a.m.
(New York City time) on such date. Such Borrowing Certificate, a form of which is attached
hereto as Exhibit B (each a “Borrowing Certificate”), shall, except with respect to the CapEx
DIP Loans, specify the amount of the proposed DIP Loan and the Borrowing Date thereof, and
shall certify that the amount of the proposed DIP Loan, after accounting for other available funds
held by the Debtor less five hundred thousand dollars ($500,000), is reasonably expected to be
needed to pay amounts coming due in the 15 days immediately following such Borrowing Date,
as set forth in the Budget. With respect to the CapEx DIP Loans, the Debtor may request a
CapEx DIP Loan by indicating its request for such CapEx DIP Loan in a Borrowing Certificate,
specifying the amount of the proposed CapEx DIP Loan and the Borrowing Date thereof, and
certifying that the amount of the proposed CapEx DIP Loan is needed to pay amounts having
come due and otherwise incurred with respect to capital improvements or storm damage claims
at the Facility as set forth in the Budget. On the Borrowing Date specified in any Borrowing
Certificate, the DIP Lender shall disburse such funds to the Operating Account (or the Capital
Improvement Account with respect to the CapEx DIP Loans) and shall use reasonable efforts to
make the funds available to the Debtor no later than 2:00 p.m. (New York City time) on the
requested Borrowing Date.


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        Section 2.3 Use of Proceeds. The proceeds of the DIP Loans, other than the CapEx
DIP Loans, shall be used by the Debtor, subject to and in accordance with the Budget and the
Financing Orders, solely for (i) working capital and general corporate purposes of the Debtor and
(ii) bankruptcy-related costs and expenses. The proceeds of the CapEx DIP Loans shall be used
by the Debtor, subject to and in accordance with the Budget and the Financing Orders, solely for
payment of capital expenses and storm damage claims. None of the proceeds of the DIP Loans
shall be used in connection with the investigation (including discovery proceedings), initiation or
prosecution of any claims, causes of action, adversary proceedings or other litigation against the
DIP Lender (whether in its capacity as DIP Lender, Prepetition Secured Party, Bond Trustee or
in any other capacity), the beneficial owners of the Bonds, or any of their respective advisors,
agents and sub-agents, including in connection with the validity of the DIP Liens granted to the
DIP Lender, or the Liens granted to the Prepetition Secured Parties in the Prepetition Collateral
arising under the Prepetition Credit Agreements.

       Section 2.4 Evidence of Debt. The DIP Lender shall maintain in its internal records
an account or accounts evidencing the DIP Obligations owed to the DIP Lender, including the
amounts of the DIP Loans owed to it and each repayment and prepayment in respect thereof.
Any such recordation shall be conclusive and binding on the Debtor, absent manifest error;
provided, failure to make any such recordation, or any error in such recordation, shall not affect
the DIP Loan Commitment, the DIP Loans or any of the DIP Obligations.

       Section 2.5     Interest on Loans.

               (a)     Applicable Rate; Payment of Interest. Interest shall accrue on the full
amount of the DIP Loan Commitment from the Interim Order Entry Date through the Maturity
Date at a simple rate per annum equal to five and six hundred and twenty-five thousandths
percent (5.625%). Accrued interest shall be due and payable on the Maturity Date.

              (b)     Calculation of Interest Rates. Interest payable pursuant to this Section 2.5
shall be computed on the basis of a 360-day year for the actual number of days elapsed in the
period during which it accrues.

       Section 2.6 Repayment. Subject to Sections 2.8 and 2.9, the DIP Loans shall be due
and payable, and the Debtor shall be required to repay all of the DIP Obligations (including,
without limitation, all accrued and unpaid principal, interest, fees, costs, and expenses on the DIP
Loans) on the Maturity Date.

       Section 2.7     Mandatory Prepayments.

               (a)     Net Proceeds. No later than the first Business Day following the date of
receipt by the Debtor of any Net Proceeds, the Debtor shall prepay the DIP Loans (including the
applicable portion of the accrued costs and expenses) as set forth in Section 2.9 in an aggregate
amount equal to such Net Proceeds.

               (b)    Prepayment Certificate. Concurrently with any prepayment of the DIP
Loans pursuant to Section 2.7(a), the Debtor shall deliver to the DIP Lender a certificate of an
Authorized Officer demonstrating the calculation in reasonable detail of the amount of the
applicable Net Proceeds. In the event that the Debtor shall subsequently determine that the


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actual amount received exceeded the amount set forth in such certificate, the Debtor shall
promptly make an additional prepayment of the DIP Loans in accordance with Section 2.9 in an
amount equal to such excess, and the Debtor shall concurrently therewith deliver to the DIP
Lender a certificate of an Authorized Officer demonstrating the derivation of such excess.

        Section 2.8 Application of Payments and Proceeds. Any amount required to be paid
pursuant to Section 2.7(a) or any other provision of this Agreement, and all proceeds of the DIP
Collateral (whether before or after an Event of Default) shall be applied (a) first, to pay any
amounts (including reasonable and documented attorneys’ fees) payable to the DIP Lender under
Section 9.3 hereof, (b) second, to pay accrued and unpaid interest, costs, expenses and other
outstanding DIP Obligations, and (c) third, to repay any principal amounts outstanding in respect
of the DIP Loans.

       Section 2.9    General Provisions Regarding Payments.

                (a)     Payments. All payments by the Debtor of principal, interest and other DIP
Obligations shall be made by the Debtor to the DIP Lender in Dollars in same day funds, without
defense, setoff or counterclaim, free of any restriction or condition, and delivered to the DIP
Lender not later than 4:00 p.m. (New York City time) on the date due at the DIP Lender’s office
for receipt of notices hereunder (or as otherwise instructed by the DIP Lender to the Debtor)
without presentment, demand, protest or notice of any kind, all of which are expressly waived by
the Debtor.

               (b)     Late Payments. The DIP Lender shall be permitted to consider any
payment made by or on behalf of the Debtor that is not made in same day funds prior to 4:00
p.m. (New York City time) as a late payment, and any such late payment shall be deemed
received on the next Business Day. The DIP Lender shall give prompt telephonic notice to the
Debtor (confirmed in writing) if any payment is considered late hereunder. To the extent any late
payment is received, the DIP Lender shall be permitted to declare by notice to the Debtor
(confirmed in writing) a Default or Event of Default to the extent so provided under the terms of
Section 8.1. Interest shall continue to accrue on any late payment until the Business Day
following receipt thereof.

               (c)      Payments to Include Accrued Interest. All payments in respect of the
principal amount of any DIP Loan shall include payment of accrued interest on the principal
amount being repaid or prepaid calculated in accordance with Section 2.5, and all such payments
shall be applied to the payment of interest before application to principal.

               (d)     Business Days. Whenever any payment to be made hereunder shall be
stated to be due on a day that is not a Business Day, such payment shall be made on the next
succeeding Business Day and such extension of time shall be included in the computation of the
payment of interest hereunder.

       Section 2.10 Termination of DIP Loan Commitments. Unless previously terminated,
the DIP Loan Commitment shall automatically terminate at the end of the DIP Commitment
Period. Upon the making of any DIP Loan, the DIP Loan Commitment shall be permanently
reduced by an amount equal to the principal amount of such DIP Loan.



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                                  ARTICLE III
                 CONDITIONS PRECEDENT; CONDITIONS SUBSEQUENT

        Section 3.1 Conditions Precedent; Closing Date. The obligation of the DIP Lender to
make any DIP Loan on any date on which the Debtor requests a Borrowing is subject to the
satisfaction, or waiver in accordance with Section 9.1, of the following conditions on or before
the Closing Date:

                (a)     Certificate. The DIP Lender shall have received a certificate of an
Authorized Officer of the Debtor with respect to (i) the articles of incorporation of the Debtor,
(ii) the bylaws of the Debtor, (iii) the resolutions of the board of directors of the Debtor
approving each DIP Loan Document and such other agreements, instruments, certificates or
other documents required to be delivered by the Debtor under the DIP Loan Documents and the
performance of the obligations of the Debtor thereunder, and (iv) the names and true signatures
of any officers of the Debtor who the Borrower desires to sign DIP Loan Documents from time
to time (all of whom shall be Authorized Officers).

                (b)     Good Standing Certificate. The DIP Lender shall have received a good
standing certificate from the applicable Governmental Body of the jurisdiction of incorporation
of the Debtor and in each jurisdiction in which it is qualified as a foreign corporation or other
entity to do business, each dated within 30 days prior to the Closing Date.

                (c)     Financing Orders. The Financing Orders, and all motions relating thereto,
approving and authorizing the DIP Loans, all provisions thereof and the priorities and DIP Liens
granted under Bankruptcy Code section 364(c) and (d), as applicable, shall be in form and
substance satisfactory to the DIP Lender and its counsel, the Interim Order shall have been
entered by the Bankruptcy Court on or before the date hereof and the Final Order shall be
scheduled to be issued no later than September 2, 2021, and shall include, without limitation,
provisions (a) modifying the automatic stay to permit the creation and perfection of the DIP
Liens, (b) providing for the vacation of such stay to permit the enforcement of the DIP Lender’s
rights and remedies under the DIP Loan Documents upon further Court order, (c) upon entry of
the Final Order, prohibiting the assertion of claims arising under sections 506(c) or 552(b) of the
Bankruptcy Code against the DIP Lender or, except as expressly permitted therein, the
commencement of other actions adverse to the DIP Lender or its respective rights and remedies
under the DIP Loan Documents, the Financing Orders, or any other order, (d) prohibiting the
incurrence of Indebtedness by Debtor, other than Permitted Indebtedness, with priority equal to
or greater than the DIP Loans, (e) prohibiting any granting or imposition of Liens other than DIP
Liens and Permitted Liens, and (f) authorizing and approving the Debtor to execute and deliver
the DIP Loan Documents to which each shall be a party and the transactions contemplated
therein, including, without limitation, the granting of the super priority status, the first-priority
and priming security interests and DIP Liens upon the DIP Collateral and the payment of all fees
and expenses due to the DIP Lender. As of the Final Order Entry Date, the Final Order shall
further state, among other things, that, upon entry of the Final Order, (a) the DIP Lender, the
Prepetition Secured Parties, and all of their respective counsel, advisors and consultants, shall
each be entitled to the benefit of a “good faith” finding pursuant to section 364(e) of the
Bankruptcy Code, and (b) permit the DIP Lender the right to Credit Bid (pursuant to section



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363(k) of the Bankruptcy Code and/or applicable law) the DIP Loans, in whole or in part, in
connection with any sale or disposition of assets in the Chapter 11 Case.

               (d)     Compliance with Financing Orders. No Financing Order shall have been
reversed, modified, amended, stayed or vacated, in the case of any modification or amendment,
in a manner, or relating to a matter, without the consent of the DIP Lender. The Debtor shall be
in compliance in all material respects with the Financing Orders and all other orders of the
Bankruptcy Court binding on it.

               (e)    Debtor-in-Possession. No trustee or examiner shall have been appointed
with respect to the Debtor or its properties.

              (f)    First Day Motions. All “first day” motions and related orders entered by
the Bankruptcy Court in the Chapter 11 Case shall be in form and substance satisfactory to the
DIP Lender and its counsel.

               (g)     Use of Proceeds and Information. The proceeds of the DIP Loans shall be
used by the Debtor solely in accordance with the Budget and the DIP Lender shall receive such
information (financial or otherwise) as may be reasonably requested by the DIP Lender.

                (h)     Litigation, etc. There shall not exist any material action, suit,
investigation, litigation or proceeding pending (other than the Chapter 11 Case) or threatened in
any court or before any Governmental Body that, in the reasonable opinion of the DIP Lender,
materially and adversely affects any of the transactions contemplated hereby, or that has or could
be reasonably likely to have a Material Adverse Effect.

              (i)    Cash Management. Cash management arrangements satisfactory to the
DIP Lender in form and substance shall be in place. The DIP Lender or its advisors shall have
completed a review of the Debtor’s cash management systems and determined that all material
amounts of cash and cash equivalents of the Debtor are subject to a DIP Lien in favor of the DIP
Lender.

              (j)     Consents. Holders of a majority in principal amount of the Bonds
outstanding shall have consented to the DIP Lender’s entry into the DIP Loan Documents.

                (k)      No Default. No Default or Event of Default shall exist at the time of, or
after giving effect to, the transactions contemplated on the Closing Date, including the advancing
of any DIP Loans.

            (l)    Representations and Warranties. All representations and warranties in the
DIP Loan Documents shall be true and correct as of the Closing Date.

                (m)    UCC Financing Statements. The DIP Lender shall have received UCC
financing statements duly authorized by the Debtor with respect to all personal property DIP
Collateral of the Debtor, for filing in all jurisdictions as may be necessary or, in the opinion of
the DIP Lender, desirable, to perfect the security interests created in such DIP Collateral
pursuant to the DIP Collateral Documents.



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                 (n)    DIP Loan Documents. The DIP Lender shall have received duly executed
copies of each DIP Loan Document (other than any DIP Loan Document which the DIP Lender
has allowed to be executed at a later date), with originals to promptly follow. The Mortgage,
financing statements and other DIP Loan Documents related to perfection of the security interest
and Liens of the DIP Lender in the DIP Collateral shall, at the DIP Lender’s option, have been
filed in all appropriate jurisdictions (or arrangements for such filings acceptable to the DIP
Lender shall have been made).

                (o)     Other Actions to Perfect Security Interests. The DIP Lender shall have
received evidence that Debtor shall have taken or caused to be taken any other action, executed
and delivered or caused to be executed and delivered any other agreement, document and
instrument, and made or caused to be made any other filing and recording (other than as set forth
herein), reasonably required by the DIP Lender to perfect, and to ensure the perfection of, its
security interests in the DIP Collateral with the priority required by the DIP Loan Documents.

                (p)     Other Information. The DIP Lender shall have received any other
financial or non-financial information regarding the Debtor that the DIP Lender reasonably
requested at least five Business Days prior to the Closing Date.

               (q)     DIP Lender’s Professional Fees and Costs. The Financing Orders shall
require the Debtor pay, on the Maturity Date, all reasonable out-of-pocket fees and expenses of
the DIP Lender incurred in connection with this Agreement and the other DIP Loan Documents,
including the fees, costs and expenses of Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, PC., as
counsel to the DIP Lender, and any other attorneys’ fees, costs and expenses of local counsel to
the DIP Lender. The DIP Lender shall be satisfied, in its sole discretion, that all such fees and
expenses constitute DIP Obligations under the Financing Orders and are secured by the DIP
Liens on the DIP Collateral.

               (r)     No Material Adverse Change. The Debtor, as debtor-in-possession, shall
have continued to operate its business in the ordinary course through the Closing Date, and since
the Petition Date there shall have been no Material Adverse Effect.

        Section 3.2 Conditions to Each Borrowing. The obligations of the DIP Lender to
make any DIP Loan on any Borrowing Date, including the Closing Date, is subject to the
satisfaction, or waiver in accordance with Section 9.1, of the following conditions precedent:

                (a)     Borrowing Certificate. The DIP Lender shall have received a fully
executed and delivered Borrowing Certificate, in accordance with Section 2.2. Each Borrowing
Certificate shall be executed by an Authorized Officer of the Debtor and delivered to the DIP
Lender on a Business Day.

                (b)     Representations and Warranties. As of such Borrowing Date (both before
and after giving effect to the advance of the DIP Loans and application of its proceeds), the
representations and warranties of the Debtor contained in the DIP Loan Documents shall be true
and correct in all material respects on and as of that Borrowing Date, as if made on and as of that
Borrowing Date (except to the extent such representations and warranties specifically relate to an




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earlier date, such representations and warranties were true and correct on and as of such earlier
date).

               (c)    No Event of Default. As of such Borrowing Date, no Default or Event of
Default shall have occurred and be continuing or would result from the consummation of the
applicable Borrowing (or the application of its proceeds).

               (d)    Consents. The DIP Lender shall have received such Consents and other
information, approvals, opinions or documents reasonably requested by the DIP Lender in
connection with such Borrowing.

               (e)   Available Commitments. After making the DIP Loans requested on such
Borrowing Date, the aggregate outstanding principal amount of the DIP Loans shall not exceed
the amount of the DIP Loan Commitment.

              (f)    No Material Adverse Effect. Since the Interim Order Entry Date, no
Material Adverse Effect shall have occurred after giving effect to the making of the DIP Loans.

               (g)     Other Information. The DIP Lender shall have received any other
financial or non-financial information regarding the Debtor that the DIP Lender reasonably
requested.

         Section 3.3 Conditions Subsequent. The Debtor shall timely perform all obligations
and commitments in any post-closing agreement between the DIP Lender and the Debtor with
respect to any requirement of Sections 3.1 or 3.2 hereof that the DIP Lender has, in the exercise
of its sole and absolute discretion, agreed to be satisfied at a later date.

                                    ARTICLE IV
                          REPRESENTATIONS AND WARRANTIES

        Section 4.1 Representations and Warranties. In order to induce the DIP Lender to
enter into this Agreement and to make each DIP Loan to be made hereby, Debtor hereby
represents and warrants to the DIP Lender, on the Closing Date and on each Borrowing Date as
follows:

                (a)     Status; Authorization. Debtor is duly organized, validly existing, and in
good standing under the laws of its jurisdiction of incorporation and is duly qualified and in good
standing in every other jurisdiction where it is doing business except where the failure to so
qualify could not reasonably be expected to have a Material Adverse Effect, and, subject to the
entry by the Bankruptcy Court of the Financing Orders, the execution, delivery and performance
by the Debtor of the DIP Loan Documents (i) are within its respective authority, (ii) have been
duly authorized, and (iii) do not conflict with or contravene its constitutive documents. Subject
to the entry by the Bankruptcy Court of the Financing Orders, the execution, delivery,
performance of its obligations, and exercise of its rights under the DIP Loan Documents by the
Debtor, including, without limitation, the making of the DIP Loans under this Agreement, (y) do
not require any Consents that have not been obtained or notices to third parties that have not
been provided except to the extent such failure would not result in a Material Adverse Effect and
(z) are not and will not be in conflict with or be prohibited or prevented by (A) any Regulation,


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(B) any corporate governance document, corporate minute or resolution of the Debtor or (C) any
instrument, agreement or provision thereof, in each case binding on it or affecting any of its
property.

                (b)     Execution and Binding Effect. Subject to the entry by the Bankruptcy
Court of the Financing Orders, upon execution and delivery thereof, each DIP Loan Document
shall constitute the legal, valid and binding obligation of the Debtor, enforceable in accordance
with its terms.

               (c)     Properties.

                      (i)     Debtor has good and marketable title to all real property owned or
               purported to be owned by it, in each case free of all Liens other than the Permitted
               Liens.

                        (ii)   Debtor enjoys, and will enjoy, peaceful and undisturbed possession
               of, or a lease or license to use, all property (subject only to the Permitted Liens)
               that is necessary for the conduct of its business.

               (d)     Litigation. Except for the Chapter 11 Case, there are no material legal or
other proceedings or investigations pending or, to the Knowledge of the Debtor, threatened
against the Debtor before any court, tribunal or regulatory authority which could, if adversely
determined, alone or together, reasonably be expected to have a Material Adverse Effect.

                (e)    Governmental Approvals and Filings. Other than the Bankruptcy Court’s
entry of the Financing Orders and the filings and recordings contemplated by the DIP Collateral
Documents, no approval, order, consent, authorization, certificate, license, permit or validation
of, or exemption or other action by, or filing, recording or registration with, or notice to, any
Governmental Body is or will be necessary in connection with the execution and delivery of this
Agreement or any other DIP Loan Document, consummation by the Debtor of the transactions
herein or therein contemplated, or performance of or compliance with the terms and conditions
hereof or thereof. The Debtor is not an “investment company” or a company “controlled” by an
“investment company,” with the meaning of the Investment Company Act of 1940, as amended.

                 (f)    Absence of Conflicts. Subject to the Bankruptcy Court’s entry of the
Financing Orders, the execution and delivery by the Debtor of this Agreement and each other
DIP Loan Document to which it is a party and performance by it hereunder and thereunder will
not violate any law (including, without limitation, Regulations T, U and X of the Federal Reserve
Board) and will not conflict with or result in a breach of any order, writ, injunction, resolution,
decree or other similar document or instrument of any court or Governmental Body or its
certificate of incorporation or by-laws or similar constituent documents or create (with or
without the giving of notice or lapse of time, or both) a default under or breach of any material
agreement, bond, note or indenture, in each case to which it is a party (by successor in interest or
otherwise), or by which it is bound or any material portion of its properties or assets is affected,
in each case, the effect of which could reasonably be expected to be, have or reflect in a Material
Adverse Effect or, except under the DIP Collateral Documents, result in the imposition of any




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Lien (other than Permitted Liens) of any nature whatsoever upon any of the properties or assets
owned by or used in connection with the business of the Debtor.

                (g)     DIP Collateral. From and after the Interim Order Entry Date, the DIP
Lender shall have first-priority perfected security interests and DIP Liens in and to all of the DIP
Collateral, free and clear of any Liens other than the Permitted Liens, and entitled to priority
under applicable law, with no financing statements, hypothecations, chattel mortgages, real
estate mortgages or similar filings on record with respect to the Debtor or the DIP Collateral
anywhere other than such filings in connection with this Agreement, the DIP Collateral
Documents or the Permitted Liens. Each of the representations and warranties made by the
Debtor in each DIP Collateral Document to which it is a party is true and correct in all material
respects as of each date made or deemed made.

               (h)     Subsidiaries. The Debtor does not own any Subsidiaries.

                (i)    Material Misstatements and Omissions. Any projections and pro forma
financial information contained in or delivered pursuant to any DIP Loan Document (including
the Budget and each Weekly Budget Report) or any other document, certificate or written
statement furnished to the DIP Lender pursuant to any DIP Loan Document are based upon good
faith estimates and assumptions believed by the Debtor to be reasonable at the time made.

                (j)    Budgets. All facts in the Budget and each Weekly Budget Report (when
delivered) are accurate in all material respects and the Debtor has disclosed to the DIP Lender all
material assumptions in the Budget and each Weekly Budget Report. After giving effect to the
DIP Loans projected to be made under the Budget, the Debtor believes, in good faith and in the
exercise of its commercially reasonable judgment, that it has or will have sufficient capital and
funds to pay and satisfy the expenses, obligations and liabilities of the Debtor as set forth, as and
when provided to be paid or satisfied, in the Budget.

              (k)     Labor Practices. To the Knowledge of the Debtor, the Debtor is not
engaged in any unfair labor practice that could reasonably be expected to have a Material
Adverse Effect.

               (l)     Employee Benefits. Each of the Employee Benefit Plans intended to
qualify under Section 401 of the Internal Revenue Code so qualifies, and nothing has occurred
with respect to the operation of such plan which would cause the loss of such qualification or the
imposition of any material liability, penalty or tax under ERISA or the Internal Revenue Code.
All contributions and premiums required by law or by the terms of each Employee Benefit Plan
have been timely made. Neither Debtor nor its ERISA Affiliates bear any liability for any
Pension Plan or Multiemployer Plan and have not had any liability under any Pension Plan or
Multiemployer Plan for the last 6 years

               (m)     Environmental Matters.

                      (i)    There are no Environmental Liabilities at any Relevant Property,
               which individually or in the aggregate, could reasonably be expected to have a
               Material Adverse Effect.



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                       (ii)   The Debtor: (A) has operated its business in compliance with all
               applicable Environmental Laws; (B) has obtained all Environmental Permits
               required by applicable Environmental Laws for the ownership and operation of its
               properties, and all such Environmental Permits are in full force and effect or such
               Person has made all appropriate filings for issuance or renewal of such
               Environmental Permits; (C) to its Knowledge, is not aware of any acts, omissions,
               events or circumstances that may interfere with or prevent continued compliance
               with the Environmental Laws and Environmental Permits referred to in the
               preceding clauses (A) and (B); (D) has not received written notice of any asserted
               or threatened claim, action, suit, proceeding, hearing, investigation or request for
               information relating to any environmental matter; and (E) has not received notice
               from any Governmental Body that the Debtor is a potentially responsible party
               under any Environmental Law at any disposal site containing Hazardous
               Materials, nor has the Debtor received any notice that any lien under any
               Environmental Law against any property of the Debtor exists, except for matters
               in each case of (A) through (E) above, which individually or in the aggregate,
               could not reasonably be expected to have a Material Adverse Effect.

                (n)      Insurance. The policies, binders or self-insurance programs for fire,
liability, product liability, workmen’s compensation, vehicular and other insurance currently held
by or on behalf of the Debtor insure its material properties and business activities against such
losses and risks as are reasonably believed to be adequate to protect its properties in accordance
with customary industry practice. As of the date hereof, all such policies, binders and self-
insurance programs are in full force and effect. As of the date hereof, the Debtor has not
received notice from any insurer or agent of such insurer that substantial capital improvements or
other expenditures are required. As of the date hereof, the Debtor has not received notice of
cancellation of any material insurance policy or binder.

               (o)    Absence of Events of Default and Material Adverse Effect. Since the
Interim Order Entry Date, no Default or Event of Default has occurred. Since the Interim Order
Entry Date, no Material Adverse Effect has occurred.

               (p)    Compliance with Laws. Except as otherwise excused by the Bankruptcy
Code, the Debtor has complied, and is in compliance in all respects, with all laws, except for
such instances of non-compliance that, individually or in the aggregate, could not reasonably be
expected to have a Material Adverse Effect.

                (q)     Margin Regulations. No part of the proceeds of the DIP Loans issued
hereunder will be used for the purpose of buying or carrying any Margin Stock or to extend
credit to others for the purpose of buying or carrying any Margin Stock, in either case in a
manner which would violate or conflict with Regulations T, U or X of the Board Governors of
the Federal Reserve System. The Debtor is not engaged in the business of extending credit to
others for the purpose of buying or carrying Margin Stock. Neither the making of the DIP Loans
nor any use of proceeds of any such Loans will violate or conflict with the provisions of
Regulations T, U or X of the Board of Governors of the Federal Reserve System, as amended
from time to time.



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                (r)     Taxes. The Debtor has filed all federal and other material Post-Petition
Tax returns required to be filed by it and has not failed to pay any material Post-Petition Taxes,
or interest and penalties relating thereto, except for Post-Petition Taxes not yet due and except
for those the amount or validity of which is currently being contested in good faith by
appropriate proceedings diligently pursued and available to the Debtor and with respect to which
adequate reserves have been set aside on its books in accordance with GAAP.

                                      ARTICLE V
                                AFFIRMATIVE COVENANTS

       Section 5.1 Affirmative Covenants. The Debtor covenants and agrees that until
payment in full of all DIP Obligations (other than indemnification obligations for which no claim
has been made as of the applicable date of determination), the Debtor shall perform all the
covenants in this Article V applicable to it:

               (a)    Basic Reporting Requirements. The Debtor shall furnish to the DIP
Lender:

                      (i)     no later than 12:00 p.m. (prevailing Central time) on Thursday of
               each week or if such Thursday is not a business day, then the immediate
               succeeding business day, the Weekly Budget Report;

                      (ii)    at any time and from time to time that the Debtor receives any
               material written notice from any Governmental Body, the Debtor shall promptly
               provide a copy of such notice to the DIP Lender, and the Debtor shall provide to
               the DIP Lender copies of all material reports, certificates and notices that the
               Debtor may provide to any Governmental Body;

                      (iii) a monthly reporting package, no later than 30 days after the end of
               each calendar month, including cash flow, income statement and balance sheet for
               such month, accounts payable and receivable reports with aging information; and

                       (iv)    as promptly as reasonably practicable from time to time following
               the DIP Lender’s reasonable request therefor, such other information (including
               historical information) regarding the operations, business affairs and financial
               condition of the Debtor, the progress of the Chapter 11 Case or compliance with
               the terms of any DIP Loan Document.

                (b)    Verification. The Debtor shall keep true and accurate (in all material
respects) books of account in accordance with past practices and shall permit the DIP Lender, or
any of its designated representatives, upon reasonable notice and at the expense of the Debtor,
during normal business hours to examine the books of account of the Debtor (and to make copies
and/or extracts therefrom) and to discuss the affairs, finances and accounts of the Debtor with,
and to be advised as to the same by, the managers, executives and officers of the Debtor and to
be advised as to such or other business records upon the reasonable request of the DIP Lender.
Management, advisors, consultants and senior personnel of the Debtor shall be available upon
reasonable advance notice from the DIP Lender (or its agents or representatives) for meetings



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with the DIP Lender and its agents or representatives during normal business hours with
reasonable prior notice and at such reasonable locations.

               (c)     Existence; Maintenance of Properties; Compliance with Regulations. The
Debtor shall maintain its corporate/legal existence and business, maintain its assets in good
operating conditions and repair (subject to ordinary wear and tear and casualty damage and to all
provisions of this Agreement permitting sales of certain of the Debtor’s assets), keep its business
and assets insured in accordance herewith, maintain its chief executive office in the United
States, continue to engage in the same or substantially similar lines of business as of the Petition
Date, and comply in all respects with all Regulations, including without limitation, ERISA and
Environmental Laws, except where a failure to do so could not individually or in the aggregate
reasonably be expected to have a Material Adverse Effect.

                (d)     Notice of Material Events. The Debtor shall notify the DIP Lender
promptly in writing upon an Authorized Officer becoming aware of any of the following: (i) the
occurrence of any Default or Event of Default, (ii) any noncompliance with any Environmental
Law or proceeding in respect thereof which could reasonably be expected to have a Material
Adverse Effect, (iii) any change of chief executive office address of the Debtor, (iv) any pending
or, to the Knowledge of the Debtor, threatened litigation or similar proceeding affecting the
Debtor involving claims in excess of $100,000 in the aggregate or any material change in any
such litigation or proceeding previously reported, (v) claims in excess of $100,000 in the
aggregate against any assets or properties of the Debtor encumbered in favor of the DIP Lender,
and (vi) any other development that results in, or could reasonably be expected to result in, a
Material Adverse Effect.

               (e)     Further Assurances.

                      (i)     The Debtor shall cooperate with the DIP Lender, take such action,
               execute such documents, and provide such information as the DIP Lender may
               from time to time reasonably request in order to effect the transactions
               contemplated by and the purposes and intent of the DIP Loan Documents.

                       (ii)    The Debtor shall promptly, upon request by the DIP Lender,
               correct, and cause each of the other parties to the DIP Loan Documents to
               promptly correct, any defect or error that may be discovered in any DIP Loan
               Document or in the execution, acknowledgment or recordation of the DIP Loan
               Document. Promptly upon request by the DIP Lender, the Debtor shall execute,
               authorize, acknowledge, deliver, record, file and register, any and all such further
               acts, deeds, conveyances, documents, security agreements, pledge agreements,
               mortgages, deeds of trust, trust deeds, assignments, financing statements and
               continuations, notices of assignment, transfers, certificates, assurances and other
               instruments as the DIP Lender may require from time to time in order to carry out
               more effectively the purposes and intent of each DIP Loan Document. Without
               limiting the foregoing, the Debtor shall (A) authorize the filing by the DIP Lender
               of UCC-1 financing statements for all jurisdictions deemed necessary or desirable
               by the DIP Lender, and (B) take such action from time to time (including, without
               limitation, authorizing, filing, executing and/or delivering such assignments,


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         security agreements and other instruments) as shall be reasonably requested by
         the DIP Lender to create, in favor of the DIP Lender, to the extent required under
         the respective DIP Collateral Documents and to the maximum extent permitted
         under applicable law, a first-priority perfected Lien in all of the DIP Collateral,
         subject only to Permitted Liens.

         (f)    Controlled Account Agreements.

                 (i)     The Debtor shall use its commercially reasonable efforts to enter
         into an account control agreement in form and substance acceptable to the DIP
         Lender (each, a “Controlled Account Agreement”) as necessary to provide the
         DIP Lender, to the extent not prohibited by applicable law, with “control” over,
         except as set forth below, each Deposit Account of the Debtor (each, a
         “Controlled Account”) as provided for under Section 9-104 of Article 9 of the
         UCC (or other applicable law) for the purpose of perfecting the security interest
         which the DIP Lender has in such Deposit Account pursuant to the DIP Collateral
         Documents. The Debtor further agrees to promptly enter into Controlled Account
         Agreements for any new Deposit Accounts opened during the DIP Commitment
         Period, which new Deposit Accounts shall only be opened following notice to,
         and written consent from, the DIP Lender. No arrangement contemplated hereby
         or by any Controlled Account Agreement in respect of any such Deposit Account
         of the Debtor, shall be modified by the Debtor without the prior written consent of
         the DIP Lender. Deposit Accounts excluded from the requirements of this section
         are as follows:

    Bank Name             Last Four Digits of Account #               Description
                                                              Utility Adequate Assurance
Bank of America, N.A.                 xxx0610
                                                                        Account
Bank of America, N.A.                 xxx7564                    Scholarship Account
Bank of America, N.A.                 xxx6160                      Operating Account
Bank of America, N.A.                 xxx3732                 Capital Expenditure Account
                                                                Community/Collateral
Bank of America, N.A.                 xxx4705
                                                                Account (Credit Card)
  UMB Bank, N.A.                      xxx933.3
  UMB Bank, N.A.                      xxx933.1
  UMB Bank, N.A.                      xxx933.2
  UMB Bank, N.A.                      xxx935.3
  UMB Bank, N.A.                      xxx935.1
  UMB Bank, N.A.                      xxx935.2
                                                              Trustee Restricted Accounts
  UMB Bank, N.A.                      xxx939.3
  UMB Bank, N.A.                      xxx939.4
  UMB Bank, N.A.                      xxx939.6
  UMB Bank, N.A.                      xxx939.5
  UMB Bank, N.A.                     xxx939.12
  UMB Bank, N.A.                      xxx939.1
  UMB Bank, N.A.                      xxx939.2


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       UMB Bank, N.A.                        xxx939.8
       UMB Bank, N.A.                       xxx939.10
       UMB Bank, N.A.                       xxx939.13
       UMB Bank, N.A.                        xxx939.7
                                                                           Escrow Account
         Regions Bank                        xxx0407
                                                                       (Reservation Deposits)
                                                                      Escrow Account (Entrance
         Regions Bank                        Pending
                                                                                Fee)

                       (ii)     Upon the occurrence and during the continuance of an Event of
               Default, any disbursements of proceeds in any Controlled Account will only be
               made at the direction of the DIP Lender; prior to the occurrence of an Event of
               Default, the Debtor will have access to any funds on deposit in the Controlled
               Accounts for use solely in accordance with this Agreement and the other DIP
               Loan Documents. The DIP Lender assumes no responsibility for the Controlled
               Accounts, including, without limitation, any claim of accord and satisfaction or
               release with respect to deposits which any banks accept thereunder. Upon the
               occurrence and during the continuance of an Event of Default, all remittances
               which the Debtor receives in payment of any Accounts, and the proceeds of any
               other DIP Collateral, shall be (A) kept separate and apart from the Debtor’s own
               funds so that they are capable of identification as the DIP Lender’s property; (B)
               held by the Debtor as trustee of an express trust for the DIP Lender’s benefit; and
               (C) immediately deposited in such accounts designated by the DIP Lender. Upon
               the occurrence and during the continuance of an Event of Default, all proceeds
               received or collected by the DIP Lender with respect to the Controlled Accounts,
               and reserves and other property of the Debtor in possession of the DIP Lender at
               any time or times hereafter, may be held by the DIP Lender, as the case may be,
               without interest to the Debtor until all DIP Obligations are paid in full or applied
               by the DIP Lender on account of the DIP Obligations. The DIP Lender may
               release to the Debtor such portions of such reserves and proceeds as the DIP
               Lender may determine. The DIP lender shall not have any duty to protect, insure,
               collect or realize upon the Controlled Accounts or to preserve rights in them.

                 (g)    Insurance. The Debtor shall maintain, at its expense, and keep in effect
with responsible insurance companies, such liability insurance for bodily injury and third-party
property damage as is customary in the case of companies engaged in the same or similar
business or having similar properties, similarly situated. The Debtor shall keep and maintain, at
its expense, its material real and personal property insured against loss or damage by fire, theft,
explosion, spoilage and all other risks ordinarily insured against by other owners or users of such
properties in similar businesses in an amount equal to the full replacement or cash value thereof,
subject to deductible amounts which the Debtor, in its reasonable judgment, deems prudent.

               (h)     Information Regarding DIP Collateral. The Debtor will furnish to the DIP
Lender prompt written notice of any change in (i) any the Debtor’s corporate name or any trade
name used to identify it in the conduct of its business or the Debtor’s chief executive office, its
principal place of business or its jurisdiction of organization or (ii) the Debtor’s federal Taxpayer



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Identification Number. The Debtor will not affect or permit any change referred to in the
preceding sentence unless arrangements satisfactory to the DIP Lender have been made to ensure
that all filings will be (or have been) made under the UCC and all other actions have been taken
that are required so that such change will not at any time adversely affect the validity, perfection
or priority of any Lien established under any DIP Loan Document on the DIP Collateral.

                (i)     Existence; Conduct of Business. The Debtor will do or cause to be done
all things reasonably necessary to preserve, renew and keep in full force and effect its legal
existence and the rights, licenses, permits (including, without limitation, Environmental Permits)
privileges, franchises, patents, copyrights, trademarks and trade names material to the conduct of
its business, except to the extent that failure to so act, which either individually or in the
aggregate, could not reasonably be expected to have a Material Adverse Effect. The Debtor shall
maintain its credit and risk policies substantially as in effect on the Petition Date.

               (j)    Payment of Obligations. Proceeds of the DIP Loans shall be used solely
as provided in Section 2.3

                 (k)    Compliance with Laws. Except as otherwise excused by the Bankruptcy
Code, the Debtor will comply with all laws (including, without limitation, all Environmental
Laws), rules, licenses, permits, Regulations and orders of any Governmental Body applicable to
it or its property, except where failures to do so, in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect.

                 (l)     Subsidiaries. Without limitation of the prohibition against forming
Subsidiaries under Section 6.1(f) or waiving any Event of Default arising therefrom, if any
Subsidiary is nonetheless formed or acquired by the Debtor after the Closing Date, the Debtor
will, prior to the date upon which such Subsidiary is formed or acquired, notify the DIP Lender
thereof and promptly following such formation or acquisition, cause any equity interest in, assets
owned or leased by, or Indebtedness owned by or on behalf, of such Subsidiary to be added to
the DIP Collateral. The DIP Lender may require that any such Subsidiary be joined to this
Agreement or the DIP Collateral Documents as a borrower or debtor hereunder or thereunder
pursuant to joinder agreements in form and substance reasonably satisfactory to the DIP Lender.

               (m)     Restructuring. The Debtor shall, in good faith, continue to pursue the
Restructuring and take all commercially reasonable steps to obtain approvals for the
Restructuring as expeditiously as is reasonably practicable under applicable law. Any
agreements, arrangements, pleadings or other documents relating to a Restructuring which
Debtor shall enter into must be acceptable to the DIP Lender.

               (n)     Bankruptcy Milestones. The Debtor shall comply with the Bankruptcy
Milestones.

                                   ARTICLE VI
                     NEGATIVE COVENANTS/BUDGET COMPLIANCE

      Section 6.1 Negative Covenants. The Debtor covenants and agrees that until all of the
DIP Obligations (other than indemnification obligations for which no claim has been made as of



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the applicable date of determination) have been paid or satisfied in full, the Debtor shall perform
all covenants in this Section 6.1 applicable to it:

               (a)    Indebtedness. The Debtor shall not incur, create, assume, become or be
liable in any manner with respect to, or permit to exist, any Indebtedness, or guarantee, assume,
endorse, or otherwise become responsible for (directly or indirectly), any Indebtedness,
performance, obligations or dividends of any other Person, except:

                       (i)    the DIP Obligations;

                       (ii)   the Prepetition Bond Indebtedness; and

                      (iii) Indebtedness, including post-petition administrative expenses,
               incurred in the ordinary course of the Debtor’s operations and in compliance with
               the Budget; provided that such Indebtedness remains at all times unsecured except
               as provided in Section 6.1(b).

               (b)      Liens. The Debtor shall not create or incur any Liens on any of the
property or assets of the Debtor, except (the Liens described in the following clauses, the
“Permitted Liens”):

                       (i)    the Liens of the DIP Lender securing the DIP Obligations;

                      (ii)   Liens of the Prepetition Secured Parties securing the Prepetition
               Bond Indebtedness, including the Liens granted pursuant to the Financing Orders
               and other Liens existing on the date hereof;

                      (iii) Liens securing the payment of taxes, assessments or other
               governmental charges or levies either not yet overdue or the validity of which are
               being contested in good faith by appropriate proceedings diligently pursued and
               available to the Debtor and with respect to which adequate reserves have been set
               aside on its books;

                       (iv)    non-consensual statutory Liens (other than Liens securing the
               payment of taxes) arising in the ordinary course of the Debtor’s business to the
               extent: (A) such Liens secure Indebtedness which is not overdue or (B) such
               Liens secure Indebtedness relating to claims or liabilities which are fully insured
               and being defended at the sole cost and expense and at the sole risk of the insurer
               or being contested in good faith by appropriate proceedings diligently pursued by
               the Debtor, in each case prior to the commencement of foreclosure or other
               similar proceedings and with respect to which adequate reserves have been set
               aside on its books;

                       (v)     zoning and land use restrictions, easements, encumbrances,
               licenses, covenants and other restrictions affecting the use of real property which
               do not interfere in any material respect with the use of such real property or
               ordinary conduct of the business of the Debtor as presently conducted thereon or
               materially impair the value of the real property which may be subject thereto;


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                      (vi)    purchase money security interests in Equipment (including Capital
               Leases) to secure Indebtedness permitted under Section 6.1(a)(ii) hereof;

                       (vii) pledges and deposits of cash by the Debtor after the date hereof in
               the ordinary course of business in connection with workers’ compensation,
               unemployment insurance and other types of social security benefits consistent
               with the current practices of the Debtor as of the date hereof;

                       (viii) pledges and deposits of cash by the Debtor after the date hereof to
               secure the performance of tenders, bids, leases, trade contracts (other than for the
               repayment of Indebtedness), statutory obligations and other similar obligations in
               each case in the ordinary course of business consistent with the current practices
               of the Debtor as of the date hereof; provided, that, in connection with any
               performance bonds issued by a surety or other person, the issuer of such bond
               shall have waived in writing any rights in or to, or other interest in, any of the DIP
               Collateral in an agreement, in form and substance satisfactory to the DIP Lender;

                       (ix)    Liens arising from (A) operating leases and the precautionary UCC
               financing statement filings in respect thereof and (B) Equipment or other
               materials which are not owned by the Debtor located on the premises of the
               Debtor (but not in connection with, or as part of, the financing thereof) from time
               to time in the ordinary course of business and consistent with current practices of
               the Debtor and the precautionary UCC financing statement filings in respect
               thereof; and

                       (x)    judgments and other similar Liens arising in connection with court
               proceedings that do not constitute an Event of Default; provided, that, (A) the
               enforcement of such judgments and Liens remain at all times subject to the
               automatic stay provisions of the Bankruptcy Code, (B) except as otherwise
               consented to in writing by the DIP Lender, such Liens are being contested in good
               faith and by appropriate proceedings diligently pursued by the Debtor, as the case
               may be, and (C) adequate reserves or other appropriate provision, if any, as are
               required by GAAP have been made therefor.

                 (c)     Investments. The Debtor shall not make any Investments other than
Investments in: (i) marketable obligations of the United States maturing within one (1) year; (ii)
certificates of deposit, bankers’ acceptances and time and demand deposits of United States
banks having total assets in excess of $1,000,000,000 or other similar cash equivalents; and (iii)
existing Investments on the Closing Date shown on the Budget or financial statements (each of
(i) through (iii) above, a “Permitted Investment”).

                (d)     Mergers; Asset Sales. Other than any disposals of obsolete, worn out or
surplus property and the license or sublicense of intellectual property, the Debtor shall not,
without the written consent of the DIP Lender, (i) consummate a merger, amalgamation or
consolidation, (ii) enter into any Asset Sale or otherwise effect the disposition of any assets, (iii)
purchase, sell, lease or otherwise dispose of assets other than inventory in the ordinary course,
(iv) make any changes in the corporate structure or identity of the Debtor which could


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reasonably be expected to have a Material Adverse Effect or (v) enter into any binding
agreement to do any of the foregoing.

               (e)    Restricted Payments. The Debtor shall not directly or indirectly, declare,
order, pay, make or set apart any sum for any Indebtedness other than the DIP Loans or the
Prepetition Bond Indebtedness or any other payments permitted by the Bankruptcy Court subject
to the Budget.

              (f)     Subsidiaries. The Debtor shall not form, or cause to be formed, any
Subsidiary without the written consent of the DIP Lender.

               (g)     Chapter 11 Claims. Except as provided in the Financing Orders, the
Debtor will not incur, create, assume, suffer to exist or permit any other superpriority expense
claim under section 364 of the Bankruptcy Code or any or Lien which is senior to or pari passu
with, the Liens securing the DIP Obligations.

        Section 6.2 Budget Compliance. The Debtor shall comply with the Budget (subject to
the permitted variances provided in the next immediate sentence), and shall not make any
payments, or incur any obligations or liabilities, that are not projected and provided for in the
Budget. As of the last day of each Measuring Period (as defined in the Financing Orders), (a)
aggregate disbursements during such period shall not exceed 110% of the total budgeted
disbursement for such period; (b) any single disbursement line item shall not exceed 115% of the
such budgeted line item for such period; (c) total receipts shall not be less than 90% of such
budgeted receipts for any particular staggered month, with such staggered month being measured
from the 6th Business Day of a particular month to the 5th Business Day of the following month,
and (d) expenditures for estate professional fees shall not exceed 100% of the amount allocated
for such expenditures in the Budget for such period (both in the aggregate and with respect to
each professional’s respective line on the Budget). Subject to the prior consent of the DIP
Lender, the Variance shall exclude emergency repairs involving manifest danger to the life or
safety of the Residents or immediately necessary for the preservation or safety of the
Community. Each “Variance” shall be measured on a rolling four week basis, other than as set
forth in (c) of this Section, and may include weeks prior to the Petition Date.

                                    ARTICLE VII
                        INCREASED COSTS; TAXES; SET OFF; ETC.

       Section 7.1    Taxes; Withholding, Etc.

                (a)     Payments to be Free and Clear. Except as otherwise required under this
Section 7.1, all sums payable by the Debtor hereunder and under the other DIP Loan Documents
shall (except to the extent required by law) be paid free and clear of, and without any deduction
or withholding on account of, any Tax (other than an Excluded Tax) imposed, levied, collected,
withheld or assessed by or within the United States of America or any political subdivision in or
of the United States of America or any other jurisdiction from or to which a payment is made by
or on behalf of the Debtor or by any federation or organization of which the United States of
America or any such jurisdiction is a member at the time of payment.




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                (b)     Withholding of Taxes. If the Debtor is required by law to make any
deduction or withholding on account of any such Tax from any sum paid or payable by the
Debtor to the DIP Lender in the ordinary or general conduct of business: (i) the Debtor shall
notify the DIP Lender of any such requirement or any change in any such requirement as soon as
the Debtor becomes aware of it, (ii) the Debtor shall pay any such Tax before the date on which
penalties attach thereto, such payment to be made (if the liability to pay is imposed on Debtor)
for its own account or (if that liability is imposed on the DIP Lender) on behalf of and in the
name of the DIP Lender, (iii) if such Tax is an Indemnified Tax, the sum payable by the Debtor
in respect of which the relevant deduction, withholding or payment is required shall be increased
to the extent necessary to ensure that, after the making of that deduction, withholding or
payment, the DIP Lender, as the case may be, receives an amount equal to what it would have
received had no such deduction, withholding or payment been required or made, and (iv) within
30 days after paying any sum from which it is required by law to make any deduction or
withholding, and within 30 days after the due date of payment of any Tax which it is required by
clause (ii) above to pay, the Debtor shall deliver to the DIP Lender evidence satisfactory to the
other affected parties of such deduction, withholding or payment and of the remittance thereof to
the relevant taxing or other authority.

                (c)     Taxpayer Identification. Upon the reasonable request of the Debtor, the
DIP Lender shall deliver to the Debtor two (2) properly completed and duly executed copies of
United States Internal Revenue Service Form W-9 (certifying that the DIP Lender is entitled to
an exemption from U.S. backup withholding tax) or any successor form on or before the date the
DIP Lender becomes a party hereto. Upon the reasonable request of the Debtor, the DIP Lender
also agrees to deliver to the Debtor two (2) further copies of said Form W-9, properly completed
and duly executed, on or before the date that any such form expires or becomes obsolete or after
the occurrence of any event requiring a change in the most recent form previously delivered by it
to the Debtor, and such extensions or renewals thereof as may reasonably be requested by the
Debtor, unless in any such case an event (including, without limitation, any change in treaty, law
or regulation) has occurred prior to the date on which any such delivery would otherwise be
required that renders all such forms inapplicable or that would prevent the DIP Lender from duly
completing and delivering any such form with respect to it and the DIP Lender so advises the
Debtor.

        Section 7.2 Right of Set Off. In addition to any rights now or hereafter granted under
applicable law and not by way of limitation of any such rights, upon the occurrence and during
the continuance of any Event of Default, the DIP Lender is hereby authorized by the Debtor at
any time or from time to time, without notice to the Debtor or to any other Person, any such
notice being hereby expressly waived, to set off and to appropriate and to apply any and all
deposits (general or special, including Indebtedness evidenced by certificates of deposit, whether
matured or unmatured, but not including trust accounts) and any other Indebtedness at any time
held or owing by the DIP Lender to or for the credit or the account of the Debtor against and on
account of the DIP Obligations of the Debtor to the DIP Lender hereunder, irrespective of
whether or not (a) the DIP Lender shall have made any demand hereunder or (b) the principal of
or the interest on the DIP Loans or any other amounts due hereunder or the other DIP Loan
Documents shall have become due and payable and although such obligations and liabilities, or
any of them, may be contingent or unmatured; provided that the DIP Lender shall notify the
Debtor promptly upon the exercise of any set-off and the appropriation and application made by


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the DIP Lender, but the failure to give such notice shall not affect the validity of such set-off and
application.

                                        ARTICLE VIII
                                     EVENTS OF DEFAULT

       Section 8.1 Events of Default. Any one or more of the following events which shall
occur and be continuing shall constitute an “Event of Default”:

                (a)     Failure to Make Payments When Due. Failure by the Debtor to pay any of
the DIP Obligations, including failure by the Debtor to pay when due principal of, or interest on,
the DIP Loans, whether at stated maturity, by acceleration, by mandatory prepayment or
otherwise, or any other amount due hereunder and set forth in the Budget, and such failure
continues for five (5) days (except that there shall be no grace period in respect of principal or
other DIP Obligations due on the Maturity Date);

                (b)     Breach of Certain Covenants. Failure of the Debtor to perform or comply
with any material term or condition contained in Section 2.3, Article V or Article VI, including,
without limitation, failure to meet or comply with the terms of the Budget (including permitted
variances) or to timely achieve the Bankruptcy Milestones, and such default shall not have been
remedied by the Debtor or waived by the DIP Lender within seven (7) days after the earlier of (i)
the date upon which an Authorized Officer of the Debtor had Knowledge of such default and (ii)
the date upon which notice thereof is given to the Debtor by the DIP Lender;

                (c)     Breach of Representations, Etc. Any representation, warranty,
certification or other written statement made or deemed made by the Debtor in any DIP Loan
Document or in any statement or certificate at any time given by the Debtor in writing, pursuant
hereto or thereto or in connection herewith or therewith shall be false in any material respect as
of the date made or deemed made;

               (d)     Other Defaults Under DIP Loan Documents. The Debtor shall default in
the performance of or compliance with any term contained in any of the DIP Loan Documents,
other than any such term referred to in any other section of this Section 8.1, and such default
shall not have been remedied or waived within fifteen (15) days after the earlier of (i) the date
upon which an Authorized Officer of the Debtor had Knowledge of such default and (ii) the date
upon which notice thereof is given to the Debtor by the DIP Lender;

                (e)    Conversion or Dismissal of Case. (i) The entry of an order dismissing the
Chapter 11 Case which does not contain a provision for termination of this Agreement, and
payment in full in cash of all Obligations upon entry of such order dismissing the Chapter 11
Case (other than contingent indemnification obligations for which no claim has been made) or
converting the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, or the Debtor
files a motion or other pleading seeking entry of such an order or supports or fails to timely
oppose such dismissal or conversion; or (ii) the entry of an order whereby a trustee, responsible
officer or an examiner having expanded powers under Bankruptcy Code Section 1104 (other
than (x) a fee examiner or (y) for purposes of an investigation pursuant to Sections 1106(a)(3)
and (4) of the Bankruptcy Code) is appointed or elected in the Chapter 11 Case, or the Debtor



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applies for, consents to, supports, acquiesces in or fails to promptly oppose, any such
appointment, or the Bankruptcy Court shall have entered an order providing for such
appointment, in the case of each of clauses (i) and (ii), without the prior written consent of the
DIP Lender in its sole discretion;

                (f)     Challenges. Debtor takes any action to, or fails to take all reasonable
actions necessary to oppose any action by any other Person (including, but not limited to, (a)
challenging the standing of such party to bring any such action, (b) filing pleadings, providing
evidentiary support, and appearing in court to support and present the same in opposition of such
party’s action, and (c) timely prosecuting all available appeals of any order or decision
authorizing such party’s actions or approving relief granted to such party or timely opposing all
appeals (or attempts to appeal) decisions denying standing or relief to such party), in each case,
except as expressly permitted hereunder and in the Financing Orders, (i) impair any of the
material rights and remedies of the DIP Lender under the DIP Loan Documents, (ii) avoid,
subordinate, disallow, or require disgorgement by the DIP Lender of any amount received in
respect of the DIP Obligations or (iii) challenge the rights or claims of the Prepetition Secured
Parties;

                 (g)     DIP Loan Documents Impaired. At any time after the execution and
delivery thereof, (i) this Agreement or any DIP Loan Document ceases to be in full force and
effect (other than by reason of a release of DIP Collateral in accordance with the terms hereof or
thereof or the satisfaction in full of the DIP Obligations in accordance with the terms hereof) or
shall be declared null and void, or the DIP Lender shall not have or shall cease to have a valid
and perfected first priority Lien, subject only to Permitted Liens, in any material portion of DIP
Collateral purported to be covered by the DIP Collateral Documents or (ii) the Debtor shall
contest the validity or enforceability of any DIP Loan Document in writing or deny in writing
that it has any further liability under any DIP Loan Document to which it is a party;

                (h)     Liens. At any time after the execution and delivery thereof, the Liens
created by the DIP Collateral Documents shall not constitute a valid and perfected first priority
Lien on the DIP Collateral intended to be covered thereby (to the extent perfection by filing,
registration, recordation or possession is required herein or therein) in favor of the DIP Lender,
free and clear of all other Liens (other than Permitted Liens), or, except for expiration in
accordance with its terms, any of the DIP Collateral Documents shall for whatever reason be
terminated or cease to be in full force and effect, or the enforceability thereof shall be contested
by the Debtor;

                (i)    Condemnation or Forfeiture of DIP Collateral. Any judicial process,
condemnation or forfeiture proceedings is brought against any material item or material portion
of the DIP Collateral or any rights therein shall be subject to such judicial process, condemnation
or forfeiture proceedings, in each case which is not stayed in the Bankruptcy Case by the
Bankruptcy Code;

                (j)     Trustee. A trustee, receiver, interim receiver, examiner, or responsible
officer (other than the Debtor’s current chief restructuring officer) with enlarged powers relating
to the operation of the business of the Debtor (powers beyond those set forth in sections
1106(a)(3) and (a)(4) of the Bankruptcy Code), shall be appointed in the Chapter 11 Case;


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               (k)     Prepetition Payments. The Debtor makes any Prepetition Payment which
is not permitted under the Budget;

               (l)     Government Restraint. Any Governmental Body, by a final, non-
appealable order, ruling or other action, shall prevent the Debtor from conducting any material
part of the Debtor’s business, to the extent such prevention could reasonably be expected to
result in a Material Adverse Effect;

                (m)    Operating Licenses. The loss, revocation, or termination of any license,
permit, lease or agreement necessary or material to the Debtor’s business, or the cessation of any
material part of the Debtor’s business, to the extent such loss, revocation, or termination could
reasonably be expected to result in a Material Adverse Effect;

                (n)      Relief from Automatic Stay. The Bankruptcy Court shall enter an order
granting relief from the automatic stay to any creditor or party in interest (i) to permit foreclosure
(or the granting of a deed in lieu of foreclosure or the like) on any material assets of the Debtor,
or (ii) to permit other actions that the DIP Lender may, in its sole discretion, deem to have a
Material Adverse Effect;

               (o)      Financing Orders. The Debtor shall fail to comply with, or there is
otherwise any material breach or default of, the Financing Orders or any other order of the
Bankruptcy Court or any order shall be entered reversing, amending, supplementing, staying for
a period in excess of five (5) Business Days, vacating or otherwise modifying in any material
respect the Financing Orders without the prior written consent of the DIP Lender;

                (p)      Judgments. Any uninsured judgments as to any Post-Petition obligation
shall be rendered against the Debtor and the enforcement thereof shall not be stayed (by
operation of law, the rules or orders of a court with jurisdiction over the matter or by consent of
the party litigants), or there shall be rendered against the Debtor a nonmonetary judgment with
respect to a Post-Petition event, in each case which causes or would reasonably be expected to
cause a Material Adverse Effect;

                (q)    Material Impairment. The filing of a motion, pleading or proceeding by
the Debtor which could reasonably be expected to result in a material impairment of the rights or
interests of the DIP Lender under the DIP Loan Documents or the Financing Orders or a
determination by a court with respect to a motion, pleading or proceeding brought by another
party which results in such a material impairment; or

        Section 8.2 Remedies. Subject to the Financing Orders, upon the occurrence of an
Event of Default then: (i), the DIP Lender may, by written notice to the Debtor (with a copy to
counsel for the Committee and to the United States Trustee), take any or all of the following
actions, at the same or different times, in each case without further order of or application to the
Bankruptcy Court (provided, that with respect to the enforcement of DIP Liens or other remedies
with respect to the DIP Collateral under clause (iii) below, the DIP Lender shall provide the Debtor
(with a copy to counsel for the Committee and to the United States Trustee) with five (5) Business
Days’ written notice prior to taking the action contemplated thereby; in any hearing after the giving
of the aforementioned notice, the only issue that may be raised by any party in opposition thereto



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being whether, in fact, an Event of Default has occurred and is continuing): (a) declare the DIP
Loan Commitment terminated, whereupon the DIP Loan Commitments of the DIP Lender shall
forthwith terminate immediately; (b) declare and otherwise accelerate the principal of and any
accrued interest in respect of all DIP Loans and any promissory notes evidencing such DIP Loans
and all other DIP Obligations owing with respect thereto hereunder and thereunder to be,
whereupon the same shall become, forthwith immediately due and payable without presentment,
demand, protest or other notice of any kind, all of which are hereby waived by the Debtor; and (c)
enforce all of the DIP Liens and security interests created pursuant to the DIP Collateral
Documents securing DIP Obligations owing to the DIP Lender in accordance with applicable
Regulations and (ii) in addition to the foregoing, upon the occurrence of an Event of Default, the
DIP Lender may, (x) exercise any right of counterclaim, setoff, banker’s lien or otherwise which
it may have with respect to money or property of the Debtor, (y) bring any lawsuit, action or other
proceeding permitted by law for the specific performance of, or injunction against any violation
of, any DIP Loan Document and may exercise any power granted under or to recover judgment
under any DIP Loan Document, and (iii) exercise any other right or remedy permitted by applicable
Regulations or otherwise available to the DIP Lender at law, in equity or otherwise.

        Section 8.3 Remedies Cumulative. No remedy herein conferred upon the DIP Lender
is intended to be exclusive of any other remedy and each and every remedy shall be cumulative
and shall be in addition to every other remedy given hereunder or now or hereafter existing at
law or in equity or by statute or any other provision of law.

        Section 8.4 Application of Proceeds. The DIP Lender shall apply any proceeds from
pursuit of any remedy first to costs and expenses provided for herein, then to interest on the DIP
Loans which is due and outstanding and then to principal on the DIP Loans which is due and
outstanding.

                                         ARTICLE IX
                                       MISCELLANEOUS

       Section 9.1    Amendments and Waivers; Release of DIP Collateral.

                (a)    General Amendments and Waivers. No amendment, modification,
termination (other than pursuant to the express terms of the DIP Loan Documents) or waiver of
any provision of the DIP Loan Documents, or consent to any departure by the Debtor therefrom,
shall be effective without the written consent of the DIP Lender and the Debtor.

                (b)     Effect of Notices, Waivers or Consents. Any waiver or consent shall be
effective only in the specific instance and for the specific purpose for which it was given. No
notice to or demand on Debtor in any case shall entitle Debtor to any other or further notice
(except as otherwise specifically required hereunder or under any of the DIP Loan Documents)
or demand in similar or other circumstances. Any amendment, modification, termination, waiver
or consent effected in accordance with this Section 9.1 shall be binding upon the DIP Lender and
the Debtor, if signed by the Debtor and DIP Lender.

        Section 9.2 Notices. All notices, requests, demands and other communications to any
party or given under any DIP Loan Document (collectively, the “Notices”) will be in writing and



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delivered personally, by overnight courier or by registered mail to the parties at the following
address or sent by electronic transmission (with confirmation of transmission), to the address
specified below (or at such other address as will be specified by a party by like notice given at
least five calendar days prior thereto):

               (a)     If to the Debtor, at:

                       BUCKINGHAM SENIOR LIVING COMMUNITY, INC.
                       Attn: Chairman
                       8580 Woodway Drive
                       Houston, TX 77063
                       Email: mwyse@wyseadvisorsllc.com

       with a copy sent contemporaneously by email to (which shall not constitute notice):

                       McGUIREWOODS LLP
                       Attn: Demetra Liggins
                       JPMorgan Chase Tower
                       600 Travis Street, Suite 7500
                       Houston, TX 77002-2906
                       Email: dliggins@mcguirewoods.com

               (b)     If to the DIP Lender, at:

                       UMB BANK, N.A.
                       Corporate Trust Services
                       Attn: Virginia Housum
                       120 Sixth Street South, Suite 1400
                       Minneapolis, MN 55402
                       Email: virginia.housum@umb.com

       with a copy sent contemporaneously by email to (which shall not constitute notice):

                       MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                       POPEO, P.C.
                       Attn: Daniel S. Bleck
                       One Financial Center
                       Boston, MA 02111
                       Email: dsbleck@mintz.com

All Notices will be deemed delivered when actually received. Each of the parties will hereafter
notify the other in accordance with this Section of any change of address or email address to
which notice is required to be mailed.

       Section 9.3 Expenses. Whether or not the transactions contemplated hereby shall be
consummated or any DIP Loans shall be made, the Debtor agrees to pay promptly, subject to the
Financing Orders (but no later than the Maturity Date), upon written demand from the DIP


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Lender (together with summary backup documentation supporting such reimbursement request)
and without the requirement for Bankruptcy Court approval in the event the transactions
contemplated hereby are consummated:

                     (i)    all the reasonable, out-of-pocket costs and expenses of preparation
             of the DIP Loan Documents and any consents, amendments, waivers or other
             modifications thereto; the reasonable fees, expenses and disbursements of Mintz,
             Levin, Cohn, Ferris, Glovsky and Popeo, P.C., as counsel to the DIP Lender, in
             connection with the negotiation, preparation, execution and administration of the
             DIP Loan Documents and any consents, amendments, supplements, waivers or
             other modifications thereto;

                     (ii)     all the reasonable, out of pocket costs and expenses of creating and
             perfecting Liens in favor of the DIP Lender pursuant hereto, including, without
             limitation, filing and recording fees, expenses, stamp or documentary taxes,
             search fees, title insurance premiums and reasonable fees, expenses and
             disbursements of Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., as counsel
             to the DIP Lender, and any other counsel of the DIP Lender in any other
             jurisdiction;

                    (iii) upon the occurrence and during the continuance of an Event of
             Default or as otherwise incurred in connection with visits and inspections
             permitted by Section 5.1(b) (the expenses for which are required to be paid by the
             Debtor pursuant to such Section), all the actual costs and reasonable fees,
             expenses and disbursements of any auditors, accountants, consultants or
             appraisers incurred in connection with the preservation and protection of the DIP
             Lender’s rights under this Agreement and the other DIP Loan Documents;

                     (iv)   all the actual costs and reasonable expenses, including, without
             limitation, upon the occurrence and during the continuance of an Event of Default
             or as otherwise incurred in connection with visits and inspections permitted by
             Section 5.1(b), the expenses for which are required to be paid by the Debtor
             pursuant to such Section, the reasonable fees, expenses and disbursements of any
             appraisers, consultants, advisors and agents employed or retained by the DIP
             Lender and its counsel in connection with the inspection, verification, custody or
             preservation of any of the DIP Collateral, to the extent required or permitted
             hereunder;

                     (v)     after the occurrence and during the continuance of a Default or an
             Event of Default, all out-of-pocket costs and expenses, including, without
             limitation, reasonable attorneys’ fees and out-of-pocket costs of settlement,
             incurred by the DIP Lender in enforcing any DIP Obligations of or in collecting
             any payments due from Debtor hereunder or under the other DIP Loan
             Documents by reason of such Default or Event of Default (including in
             connection with the sale of, collection from, or other realization upon any of the
             DIP Collateral) or in connection with any negotiations, reviews, refinancing or
             restructuring of the credit arrangements provided hereunder, including without


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               limitation in the nature of a “workout” or pursuant to any insolvency or
               bankruptcy cases or proceedings; and

                       (vi)  the foregoing shall not be construed to limit any other provisions
               of the DIP Loan Documents regarding costs and expenses to be paid by the
               Debtor.

       Section 9.4     Enforceability; Successors and Assigns.

                (a)     Enforceability; Successors and Assigns. This Agreement will be binding
upon and inure to the benefit of and is enforceable by the respective successors and permitted
assigns of the parties hereto. This Agreement may not be assigned by the Debtor hereto without
the prior written consent of the DIP Lender. Any assignment or attempted assignment in
contravention of this Section 9.4(a) will be void ab initio and will not relieve the assigning party
of any obligation under this Agreement.

                 (b)    Assignments. The DIP Lender may assign (an “Assignment”) all or a
portion of its rights and obligations under the DIP Loan Documents (including all or a portion of
the DIP Lender’s DIP Loans and DIP Loan Commitment, as the case may be, in a minimum
amount of $250,000) to any Assignee. Such Assignment may be made without the consent of
the Debtor. From and after the date of the Assignment, the Assignee shall be a party hereto and,
to the extent of the interest assigned pursuant to the Assignment, have the rights and obligations
of the DIP Lender under this Agreement, and the assigning DIP Lender shall, to the extent of the
interest assigned, be released from its obligations under this Agreement. No Assignment by the
DIP Lender shall release the DIP Lender from its obligations hereunder arising prior to the date
of such assignment. The Debtor hereby consents to the disclosure of any information obtained
by DIP Lender in connection with this Agreement to any Person to which DIP Lender sells, or
proposes to sell, its DIP Loans or DIP Loan Commitment, provided any such Person shall agree
to keep any such information confidential.

        Section 9.5 Integration. This Agreement and the other DIP Loan Documents contain
and constitute the entire agreement of the parties with respect to the subject matter hereof and
supersede all prior negotiations, agreements and understandings, whether written or oral, of the
parties hereto.

        Section 9.6 No Waiver; Remedies. No failure or delay by any party in exercising any
right, power or privilege under this Agreement or any of the other DIP Loan Documents will
operate as a waiver of such right, power or privilege. A single or partial exercise of any right,
power or privilege will not preclude any other or further exercise of the right, power or privilege
or the exercise of any other right, power or privilege. The rights and remedies provided in the
DIP Loan Documents will be cumulative and not exclusive of any rights or remedies provided by
law.

         Section 9.7 Setoff. The Debtor hereby, subject to the Financing Orders and the Carve-
Out, grants to the DIP Lender a continuing lien, security interest and right of setoff as security
for all liabilities and obligations to the DIP Lender, whether now existing or hereafter arising,
upon and against all deposits, credits, collateral and property, now or hereafter in the possession,



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custody, safekeeping or control of the DIP Lender or any Affiliate and their successors and
assigns or in transit to any of them. Regardless of the adequacy of any collateral, if any of the
DIP Obligations are due and payable and have not been paid or any Event of Default shall have
occurred, any deposits or other sums credited by or due from the DIP Lender to the Debtor and
any securities or other property of the Debtor in the possession of the DIP Lender may be applied
to or set off by the DIP Lender against the payment of DIP Obligations and any and all other
liabilities, direct, or indirect, absolute or contingent, due or to become due, now existing or
hereafter arising, of the Debtor to the DIP Lender. ANY AND ALL RIGHTS TO REQUIRE
THE DIP LENDER TO EXERCISE ITS RIGHTS OR REMEDIES WITH RESPECT TO
ANY OTHER DIP COLLATERAL WHICH SECURES THE DIP OBLIGATIONS,
PRIOR TO EXERCISING ITS RIGHT OF SETOFF WITH RESPECT TO SUCH
DEPOSITS, CREDITS OR OTHER PROPERTY OF THE DEBTOR IS HEREBY
KNOWINGLY, VOLUNTARILY AND IRREVOCABLY WAIVED.

        Section 9.8 Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties on separate counterparts, each of which, when
executed and delivered, shall be deemed to be an original, and all of which, when taken together,
shall constitute but one and the same Agreement. Delivery of an executed counterpart of this
Agreement by facsimile or other electronic transmission shall be equally as effective as delivery
of an original executed counterpart of this Agreement.




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     Section 9.9   Governing Law; Submission To Jurisdiction; Venue.

           (a)   SUBJECT TO THE JURISDICTION OF THE BANKRUPTCY COURT,
THIS AGREEMENT AND THE OTHER DIP LOAN DOCUMENTS AND THE RIGHTS
AND OBLIGATIONS OF THE PARTIES HEREUNDER AND THEREUNDER SHALL,
EXCEPT AS OTHERWISE PROVIDED IN CERTAIN OF THE OTHER DIP LOAN
DOCUMENTS, BE CONSTRUED IN ACCORDANCE WITH AND BE GOVERNED BY
THE INTERNAL LAW OF THE STATE OF NEW YORK (WITHOUT REGARD TO
CONFLICTS OF LAWS RULES AND PRINCIPLES THEREUNDER) AND, TO THE
EXTENT APPLICABLE, THE BANKRUPTCY CODE. ANY LEGAL ACTION OR
PROCEEDING WITH RESPECT TO THIS AGREEMENT OR ANY OTHER DIP LOAN
DOCUMENT SHALL BE BROUGHT IN THE BANKRUPTCY COURT, OR IN THE EVENT
THAT THE BANKRUPTCY COURT DOES NOT HAVE OR DOES NOT EXERCISE
JURISDICTION, THEN IN ANY STATE OR FEDERAL COURT OF COMPETENT
JURISDICTION IN THE STATE OF TEXAS, AND, BY EXECUTION AND DELIVERY OF
THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT, THE DEBTOR HEREBY
IRREVOCABLY ACCEPTS FOR ITSELF AND IN RESPECT OF ITS PROPERTY,
GENERALLY AND UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID
COURTS. THE DEBTOR HEREBY FURTHER IRREVOCABLY WAIVES ANY CLAIM
THAT ANY SUCH COURTS LACKS PERSONAL JURISDICTION OVER DEBTOR, AND
AGREES NOT TO PLEAD OR CLAIM, IN ANY LEGAL ACTION PROCEEDING WITH
RESPECT TO THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT BROUGHT
IN THE AFOREMENTIONED COURTS, THAT SUCH COURTS LACK PERSONAL
JURISDICTION OVER DEBTOR. DEBTOR FURTHER IRREVOCABLY CONSENTS TO
THE SERVICE OF PROCESS OUT OF THE AFOREMENTIONED COURTS IN ANY SUCH
ACTION OR PROCEEDING BY THE MAILING OF COPIES THEREOF BY REGISTERED
OR CERTIFIED MAIL, POSTAGE PREPAID, TO THE DEBTOR AT ITS ADDRESS AS SET
FORTH IN SECTION 9.2 HEREOF, SUCH SERVICE, NOTWITHSTANDING THE
PERIODS OF TIME PROVIDED FOR IN SECTION 9.2, TO BECOME EFFECTIVE 30
DAYS AFTER SUCH MAILING. DEBTOR HEREBY IRREVOCABLY WAIVES ANY
OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
COMMENCED HEREUNDER OR UNDER ANY OTHER DIP LOAN DOCUMENT THAT
SERVICE OF PROCESS WAS IN ANY WAY INVALID OR INEFFECTIVE. NOTHING
HEREIN SHALL AFFECT THE RIGHT OF THE DIP LENDER TO SERVE PROCESS IN
ANY OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL
PROCEEDINGS OR OTHERWISE PROCEED AGAINST DEBTOR IN ANY OTHER
JURISDICTION.

          (b)   DEBTOR HEREBY IRREVOCABLY WAIVES ANY OBJECTION
WHICH IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY OF
THE AFORESAID ACTIONS OR PROCEEDINGS ARISING OUT OF OR IN
CONNECTION WITH THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT
BROUGHT IN THE COURTS REFERRED TO IN CLAUSE (a) ABOVE AND HEREBY
FURTHER IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY
SUCH COURT THAT ANY SUCH ACTION OR PROCEEDING BROUGHT IN ANY SUCH
COURTS HAVE BEEN BROUGHT IN AN INCONVENIENT FORUM.


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     Section 9.10 Waiver of Jury Trial. THE PARTIES HEREBY IRREVOCABLY
AND UNCONDITIONALLY WAIVE, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY RIGHT THAT THEY MAY HAVE TO TRIAL BY JURY OF
ANY CLAIM OR CAUSE OF ACTION, OR IN ANY LEGAL PROCEEDING,
DIRECTLY OR INDIRECTLY BASED UPON OR ARISING OUT OF THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT
(WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
PARTY (A) CERTIFIES THAT NO REPRESENTATIVE OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTIES WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND
THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

         Section 9.11 Severability. If any term or other provision of this Agreement is invalid,
illegal or incapable of being enforced by any rule of law, or public policy, all other conditions
and provisions of this Agreement will nevertheless remain in full force and effect so long as the
economic or legal substance of the transactions contemplated hereby is not affected in any
manner adverse to any party. Upon such determination that any term or other provision is
invalid, illegal or incapable of being enforced, the parties hereto will negotiate in good faith to
modify this Agreement so as to effect the original intent of the parties as closely as possible in an
acceptable manner to the end that the transactions contemplated hereby are fulfilled to the extent
possible.

        Section 9.12 Survival. All representations, warranties, covenants, agreements, and
conditions contained in or made pursuant to this Agreement or the other DIP Loan Documents
shall survive (a) the making of the Loans and the payment of the DIP Obligations and (b) the
performance, observance and compliance with the covenants, terms and conditions, express or
implied, of all DIP Loan Documents, until the due and punctual (i) indefeasible payment of the
DIP Obligations and (ii) performance, observance and compliance with the covenants, terms and
conditions, express or implied, of this Agreement and all of the other DIP Loan Documents;
provided, however, that the provisions of Article VII and Section 9.3 (other than Section
9.3(a)(iii), except to the extent fees, costs and expenses have been incurred prior to termination
hereof but not paid in accordance with such Sections, in which case such Sections shall survive
only to require payment of such fees, costs and expenses) shall survive (x) indefeasible payment
of the DIP Obligations and (y) performance, observance and compliance with the covenants,
terms and conditions, express or implied, of this Agreement and all of the other DIP Loan
Documents.

        Section 9.13 Maximum Lawful Interest. Notwithstanding anything to the contrary
contained herein, in no event shall the amount of interest and other charges for the use of money
payable under this Agreement or any other DIP Loan Document exceed the maximum amounts
permissible under any law that a court of competent jurisdiction shall, in a final determination,
deem applicable. The Debtor and the DIP Lender, in executing and delivering this Agreement,
intend legally to agree upon the rate or rates of interest and other charges for the use of money
and manner of payment stated within it; provided, however, that, anything contained herein to


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the contrary notwithstanding, if the amount of such interest and other charges for the use of
money or manner of payment exceeds the maximum amount allowable under applicable law,
then, ipso facto as of the Closing Date, the Debtor is and shall be liable only for the payment of
such maximum as allowed by law, and payment received from the Debtor in excess of such legal
maximum, whenever received, shall be applied to reduce the principal balance of the Loans to
the extent of such excess.

        Section 9.14 Interpretation. As used in this Agreement, references to the singular will
include the plural and vice versa and references to the masculine gender will include the
feminine and neuter genders and vice versa, as appropriate. Unless otherwise expressly provided
in this Agreement (a) the words “hereof”, “herein” and “hereunder” and words of similar import
when used in this Agreement will refer to this Agreement as a whole and not to any particular
provision of this Agreement and (b) article, section, subsection, and schedule references are
references with respect to this Agreement unless otherwise specified. Unless the context
otherwise requires, the term “including” will mean “including, without limitation.” The headings
in this Agreement and in the Schedules are included for convenience of reference only and will
not affect in any way the meaning or interpretation of this Agreement.

       Section 9.15 Ambiguities. This Agreement and the other DIP Loan Documents were
negotiated between legal counsel for the parties and any ambiguity in this Agreement or the
other DIP Loan Documents shall not be construed against the party who drafted this Agreement
or such other DIP Loan Documents.

        Section 9.16 The PATRIOT Act. The DIP Lender hereby notifies Debtor, that pursuant
to the requirements of the PATRIOT Act, it is required to obtain, verify and record information
that identifies Debtor and other information that will allow the DIP Lender to identify Debtor in
accordance with the PATRIOT Act.

       Section 9.17 Conflicting Provisions in Security Documents. In the event that any
provisions of this Agreement conflict with any DIP Collateral Document, the provisions of this
Agreement shall govern.

        Section 9.18 Conflicting Provisions in the Financing Orders. In the event that any
provisions of this Agreement conflict with any provisions in the Financing Orders, the provisions
of the Financing Orders shall control.

        Section 9.19 Modifications. Except as specifically contemplated in the Financing
Orders, the DIP Liens, lien priority, administrative priorities and other rights and remedies
granted to the DIP Lender pursuant to this Agreement and the Financing Orders (specifically,
including, but not limited to, the existence, perfection and priority of the DIP Liens provided
herein and therein and the administrative priority herein and therein) shall not be modified,
altered or impaired in any manner by any other financing or extension of credit or incurrence of
Indebtedness by the Debtor (pursuant to section 364 of the Bankruptcy Code or otherwise), or by
any dismissal or conversion of the Chapter 11 Case, or by any other act or omission whatsoever
(other than in connection with any asset disposition permitted hereunder). Without limitation,
notwithstanding any such order, financing, extension, incurrence, dismissal, conversion, act or
omission: (i) except for the Carve-Out having priority over the DIP Obligations, no costs or


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expenses of administration which have been or may be incurred in the Chapter 11 Case or any
conversion of the same or in any other proceedings related thereto, and no priority claims, are or
will be prior to or on a parity with any claim of the DIP Lender against Debtor in respect of any
DIP Obligation; (ii) the Liens granted under the DIP Loan Documents shall continue to be valid
and perfected and with the specified priority without the necessity that financing statements be
filed or that any other action be taken, or document or instrument registered or delivered, under
applicable non-bankruptcy law; and (iii) notwithstanding any failure on the part of the Debtor or
the DIP Lender to perfect, maintain, protect or enforce the Liens in the DIP Collateral granted
under the DIP Loan Documents, the Financing Orders shall automatically, and without further
action by any Person, perfect such Liens against the DIP Collateral of the Debtor.

      Section 9.20 Release. THE DEBTOR HEREBY ACKNOWLEDGES AND AGREES
THAT AS OF THE DATE HEREOF IT HAS NO DEFENSE, COUNTERCLAIM, OFFSET,
CROSS-COMPLAINT, CLAIM OR DEMAND OF ANY KIND OR NATURE
WHATSOEVER THAT CAN BE ASSERTED TO REDUCE OR ELIMINATE ALL OR ANY
PART OF ITS LIABILITY TO REPAY THE DIP OBLIGATIONS (OR THE PREPETITION
OBLIGATIONS OWED TO THE PREPETITION SECURED PARTIES) OR TO SEEK
AFFIRMATIVE RELIEF OR DAMAGES OF ANY KIND OR NATURE FROM THE DIP
LENDER (IN ITS CAPACITY AS DIP LENDER HEREUNDER AND IN ITS CAPACITY AS
A PREPETITION SECURED PARTY) OR OTHER PREPETITION SECURED PARTIES.
THE DEBTOR HEREBY VOLUNTARILY AND KNOWINGLY RELEASES AND
FOREVER DISCHARGES THE DIP LENDER (IN ITS CAPACITY AS DIP LENDER
HEREUNDER AND IN ITS CAPACITY AS A PREPETITION SECURED PARTY), THE
OTHER PREPETITION SECURED PARTIES, THEIR RESPECTIVE AFFILIATES, AND
EACH OF THEIR RESPECTIVE AGENTS, EMPLOYEES, SUCCESSORS AND ASSIGNS
(COLLECTIVELY, THE “RELEASED PARTIES”) FROM ALL POSSIBLE CLAIMS,
DEMANDS, ACTIONS, CAUSES OF ACTION, DAMAGES, COSTS, EXPENSES,
OBLIGATIONS, DEBTS AND LIABILITIES WHATSOEVER, WHETHER KNOWN OR
UNKNOWN, ANTICIPATED OR UNANTICIPATED, SUSPECTED OR UNSUSPECTED,
FIXED, CONTINGENT OR CONDITIONAL, OR AT LAW OR IN EQUITY, IN ANY CASE
ORIGINATING IN WHOLE OR IN PART ON OR BEFORE THE DATE THIS AGREEMENT
IS EXECUTED THAT THE DEBTOR MAY NOW OR HEREAFTER HAVE AGAINST THE
RELEASED PARTIES, IF ANY, IRRESPECTIVE OF WHETHER ANY SUCH CLAIMS
ARISE OUT OF CONTRACT, TORT, VIOLATION OF LAW OR REGULATIONS, OR
OTHERWISE, AND THAT ARISE FROM ANY DIP LOANS OR PREPETITION
INDEBTEDNESS, THE EXERCISE OF ANY RIGHTS AND REMEDIES UNDER THE DIP
LOAN DOCUMENTS OR THE PREPETITION CREDIT AGREEMENTS AND THEIR
RELATED DOCUMENTS, AND/OR NEGOTIATION FOR AND EXECUTION OF THIS
AGREEMENT, INCLUDING, WITHOUT LIMITATION, ANY CONTRACTING FOR,
CHARGING, TAKING, RESERVING, COLLECTING OR RECEIVING INTEREST IN
EXCESS OF THE HIGHEST LAWFUL RATE APPLICABLE. NOTWITHSTANDING
ANYTHING TO THE CONTRARY SET FORTH HEREIN, THE FOREGOING RELEASE
SHALL BE SUBJECT TO THE RIGHTS OF THE COMMITTEE OR ANY OTHER PARTY
IN INTEREST UNDER THE FINANCING ORDERS.




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       Section 9.21 Electronic Transactions. The transaction described herein may be
conducted, and related documents may be stored, by electronic means. Copies, telecopies,
facsimiles, electronic files and other reproductions of original executed documents will be
deemed to be authentic and valid counterparts of such original documents for all purposes,
including the filing of any claim, action or suit in the appropriate court of law.


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                                         SCHEDULE 2.1

                                 DIP LOAN COMMITMENTS

                             DIP Loans                    Commitment Amount

                 Initial DIP Loans                                  $1,500,000

                 DIP Loans (less Initial DIP Loans)                 $1,900,000

                 CapEx DIP Loan                                      $692,259

                 DIP Loan Commitment (cumulative)                   $3,400,000




                                           Schedule 2.1
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                                EXHIBIT A

                                   Budget




                              Exhibit A - Budget
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The Buckingham: Summary DIP Liquidity Projection                           Case
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                                                                                                                                                                140                                                                                                141           142           143            144 DIP Total
Weekly Presentation                                                                           6/26/2021          7/3/2021     7/10/2021     7/17/2021     7/24/2021     7/31/2021      8/7/2021     8/14/2021     8/21/2021     8/28/2021      9/4/2021     9/11/2021     9/18/2021     9/25/2021      10/2/2021 weeks 7/3-10/2
Credits:                                                                                      Q2 '21            Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21       Oct-Nov '21
                                                                                              Actual        Projected        Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected      Projected
                                                                                                                1                2             3             4             5             6             7             8             9            10            11            12            13             14
Resident Checks                                                                                 279,939              -          121,658       106,658       193,922       193,922       196,802       196,802       196,802       196,802       196,802       196,802       196,802       196,802        196,802      2,667,315
Resident ACH                                                                                        -                -              -             -             -         915,916           -             -             -         745,090           -             -             -         745,090            -        2,406,096
Medicare                                                                                          1,380          213,143            -             -             -         243,757           -             -             -             -         304,696           -             -             -          243,757      1,006,734
Private Insurance                                                                                45,237           18,260         18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260         18,260        300,881
Other                                                                                               500            2,500          2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500          2,500         35,500
Operating Receipts                                                            (a)               327,055          233,904        142,419       127,419       214,682     1,374,355       217,562       217,562       217,562       962,652       522,258       217,562       217,562       962,652        461,319      6,416,526

Check Reversal Credit                                                         (b)                39,743               -              -             -             -             -             -             -             -             -             -             -             -             -              -          39,743
                                                                                                                                                                                                                                                                                                                            -
Transfer from UMB Operating Reserve Fund (DIP)                                                         -              -              -        705,478       187,565            -            237       628,730        28,730       353,361            -        505,263        26,230            -         526,669      2,962,262
Total Transfers In to x6160                                                   (d)                      -              -              -        705,478       187,565            -            237       628,730        28,730       353,361            -        505,263        26,230            -         526,669      2,962,262

Total Receipts                                                            (a+b+c+d)             366,798          233,904        142,419       832,897       402,247     1,374,355       217,800       846,292       246,292     1,316,013       522,258       722,825       243,792       962,652        987,988      9,418,531

Debits:
Payroll and related expenses (1)                                                               (580,000)              -             -        (632,730)          -        (600,000)          -        (600,000)          -        (600,000)          -        (600,000)          -        (600,000)           -        (4,212,730)
Facility Services/Supplies (2)                                                                  (20,616)          (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (34,854)      (34,854)      (34,854)      (34,854)      (34,854)       (34,854)       (548,574)
Food/Food Service (3)                                                                              (628)          (41,715)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (36,172)      (36,172)      (36,172)       (36,172)       (557,579)
Manager Services/Marketing (4)                                                                 (141,968)          (32,062)     (204,967)      (34,967)      (34,967)      (34,967)     (204,967)      (34,967)      (34,967)      (34,967)     (204,967)      (29,967)      (29,967)      (29,967)       (29,967)     (1,118,600)
IT & Utilities (5)                                                                              (57,198)          (69,794)      (65,275)      (64,301)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (42,775)      (42,775)      (42,775)       (42,775)       (744,589)
Insurance/Broker (6)                                                                                -             (13,684)          -             -             -             -             -             -             -             -             -             -             -             -              -           (13,684)
Pharma/Healthcare Services/Hospitality/Administration/Security (7)                               (8,044)          (69,760)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (33,392)      (33,392)      (33,392)      (33,392)       (33,392)       (591,900)
BOD/Professional Services/Other (8)                                                             (73,381)          (73,148)      (18,632)      (18,632)      (52,588)      (56,632)      (16,632)      (16,632)      (16,632)      (56,632)      (16,632)      (16,632)      (16,632)      (16,632)       (56,632)       (522,700)
CAPEX (Storm Repair) (9)                                                                            -            (233,120)      (35,000)      (35,000)      (35,000)      (35,000)      (35,000)          -             -             -             -             -             -             -              -          (408,120)
CAPEX (General) (10)                                                                            (51,742)         (202,872)      (25,000)      (25,000)      (25,000)      (25,000)      (50,000)      (25,000)      (25,000)      (25,000)      (50,000)      (25,000)      (50,000)      (22,259)       (25,000)       (651,874)
 Operating Disbursements                                                                       (933,578)         (776,009)     (473,292)     (935,048)     (317,247)     (921,292)     (476,292)     (846,292)     (246,292)     (881,292)     (426,292)     (818,792)     (243,792)     (816,051)      (258,792)     (9,370,350)

Check Error/ACH Return/Return Item                                                               (1,758)              -              -             -             -             -             -             -             -             -             -             -             -             -              -           (1,758)
                                                                                                                                                                                                                                                                                                                             -
Debtor Professional Fees                                                                       (286,155)              -         (88,000)           -            -        (169,571)           -             -             -       (348,909)           -             -             -             -        (610,798)     (1,503,434)
Indenture Professional Fees                                                                         -                 -             -              -            -             -              -             -             -            -              -             -             -             -             -               -
Committee Fees                                                                                  (74,188)              -             -              -            -         (25,000)           -             -             -        (85,813)           -             -             -             -         (85,000)       (270,000)
UST Fees                                                                                            -                 -             -              -        (85,000)          -              -             -             -            -              -             -             -             -        (180,000)       (265,000)

Transfer to BOA CAPEX Account                                                                          -              -              -             -             -             -             -             -             -             -             -             -             -             -              -              -
Total Transfers Out from x6160                                                                         -              -              -             -             -             -             -             -             -             -             -             -             -             -              -              -

Total Disbursements                                                                          (1,295,680)         (776,009)     (561,292)     (935,048)     (402,247)   (1,115,863)     (476,292)     (846,292)     (246,292)   (1,316,013)     (426,292)     (818,792)     (243,792)     (816,051)    (1,134,590)    (11,410,542)

Operating Cash Flow                                                                            (606,523)         (542,106)     (330,873)     (807,630)     (102,565)      453,063      (258,730)     (628,730)      (28,730)       81,361        95,967      (601,230)      (26,230)      146,602        202,528      (2,953,824)
Other Activity                                                                                 (322,358)              -         (88,000)      705,478       102,565      (194,571)          237       628,730        28,730       (81,361)          -         505,263        26,230           -         (349,129)        961,813

Beginning Cash                                                                                2,492,012         1,563,130     1,021,024       602,151       500,000       500,000       758,492       500,000       500,000       500,000       500,000       595,967       500,000       500,000        646,602       2,492,012
Minimum Cash Balance Requirement                                                                                                                                                                                                                                                                                             -
Net Credits                                                                                     366,798           233,904       142,419       832,897       402,247     1,374,355       217,800       846,292       246,292     1,316,013       522,258       722,825       243,792       962,652        987,988       9,418,531
Net Debits                                                                                   (1,295,680)         (776,009)     (561,292)     (935,048)     (402,247)   (1,115,863)     (476,292)     (846,292)     (246,292)   (1,316,013)     (426,292)     (818,792)     (243,792)     (816,051)    (1,134,590)    (11,410,542)
Ending Operating Account Cash (Bank)                                                          1,563,130         1,021,024       602,151       500,000       500,000       758,492       500,000       500,000       500,000       500,000       595,967       500,000       500,000       646,602        500,000         500,000
Estimated Check Float
Ending Operating Account Cash (Book)
Indenture Trust Accounts (Bank)                                                                        -              -              -             -             -             -             -             -             -             -             -             -             -             -              -
Indenture DIP Loan
Beginning Balance                                                                                                     -              -            -        (705,478)     (893,044)     (893,044)     (893,281)   (1,522,010)   (1,550,740)   (1,904,101)   (1,904,101)   (2,409,363)   (2,435,593)    (2,435,593)            -
Draw                                                                                                                                         (705,478)     (187,565)                       (237)     (628,730)      (28,730)     (353,361)                   (505,263)      (26,230)                    (526,669)     (2,962,262)
Repayment                                                                                                                                                                                                                                                                                                                    -
PIK Interest                                                                                                                                                                                                                                                                                                                 -
Ending DIP Balance                                                                                                    -              -       (705,478)     (893,044)     (893,044)     (893,281)   (1,522,010)   (1,550,740)   (1,904,101)   (1,904,101)   (2,409,363)   (2,435,593)   (2,435,593)    (2,962,262)     (2,962,262)

Resident Occupancy
Healthcare Occupancy

Incurred Restructuring Fees Projection
Thompson & Knight (Debtor Restructuring Counsel)                                                166,428           37,500         45,000        45,000        45,000        45,000        55,000        55,000        55,000        55,000        55,000        12,500        12,500        12,500         12,500
McCall Parkhurst & Horton (Debtor Bond Counsel)                                                     -                -              -             -             -             -             -             -             -         255,000           -             -             -             -              -
B. Riley Advisors (Debtor Financial Advisor)                                                     31,854           23,000         23,000        23,000        23,000        23,000        30,000        30,000        30,000        30,000        30,000        18,625        18,625        18,625         18,625
TBD                                                                                                 -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
Stretto (Debtor Claims Agent)                                                                    22,065           87,071         20,227        20,227        15,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227         10,227
Healthcare Ombudsman                                                                                -             22,000            -             -             -          11,000           -             -             -          11,000           -             -             -             -           11,000
UST Trustee                                                                                         -                -              -             -          85,000           -             -             -             -             -             -             -             -             -          180,000
Resident/Creditor Committee Professionals                                                        24,188           25,000         25,000        25,000        20,813        15,000        15,000        15,000        15,000        15,000        15,000        15,000        15,000        15,000         15,000
Mintz Levin (Indenture Trustee Counsel)                                                             -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
RBC (Indenture Trustee Financial Advisor)                                                           -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
Utility Deposit                                                                                     -                -           88,000           -             -             -             -             -             -             -             -             -             -             -          (88,000)

Note:
-Estimate of Storm Damage Capex may be higher but difference to be reimbursed by insurance ($250k deductible)
-Does not reflect DIP interest/fees
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                               EXHIBIT B

                     Form of Borrowing Certificate




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                                           Borrowing Certificate

         Reference is hereby made to that certain Priming Superpriority Debtor-In-Possession
Credit Agreement (the “DIP Credit Agreement”) dated as of June __, 2021, by and between
Buckingham Senior Living Community, Inc. (the “Debtor”) and UMB Bank, N.A., in its
capacity as Bond Trustee (the “DIP Lender”). Capitalized terms used but not defined herein shall
have the meanings given to them in the DIP Credit Agreement. The undersigned, in their
capacity as an Authorized Officer of the Debtor and not individually, hereby certifies as follows
as of               , 2021 (the “Borrowing Date”):

         1.    DIP Loans. Pursuant to the terms of the DIP Credit Agreement, the Debtor is
authorized to borrow DIP Loans in an amount equal to the DIP Loan Commitment during the
DIP Commitment Period, solely in compliance with the DIP Credit Agreement. The Debtor
hereby requests an advance of DIP Loans 1 in the aggregate amount of $            (the
“Borrowing”) to be transferred to the Debtor within two (2) Business Days of the Borrowing
Date.

            2.  Representations and Warranties. On and as of the Borrowing Date (both before
and after giving effect to the Borrowing requested hereby and application of such proceeds), the
representations and warranties of the Debtor contained in the DIP Loan Documents are true and
correct in all material respects (except to the extent such representations and warranties
specifically relate to an earlier date, such representations and warranties are true and correct on
and as of such earlier date).

            3. No Default or Event of Default. As of the Borrowing Date, no event has occurred
or is continuing or would result from the consummation of the Borrowing requested hereby, or
the application of such proceeds, that would constitute a Default or an Event of Default.

        4.    Available Commitments. After making the DIP Loans requested by this
Borrowing, the aggregate outstanding principal amount of the DIP Loans will not exceed the DIP
Loan Commitment.

         5.    Use of Proceeds. The proceeds of the DIP Loans advanced under this Borrowing
will be used by the Debtor in accordance with the Budget and the DIP Credit Agreement.

                                           [signature page follows]




1
    Indicate if CapEx DIP Loan


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       IN WITNESS WHEREOF, the undersigned has executed this Borrowing Certificate as of
the date first above written.


                                         BUCKINGHAM SENIOR LIVING
                                         COMMUNITY, INC., as Debtor

                                         By:
                                               Name:
                                               Title:




                       Exhibit B - Form of Borrowing Certificate - 3
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